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actions.

Assigned to Judge MANUEL L. REAL,
Central District of California

CAUSE

Tag-along: 87-0138, 86-0333

N/D California:
90-670 (their 86-975)
90-671 (their 86~1449}

(CITE THE U.S. CIVIL STATUTE UNDER WHICH THE CASE
IS FILED AND WRITE A BRIEF STATEMENT OF CAUSE)

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0975 1 IMDL | 840 meee 13 | 90 . ~ MASTER! DOCKET MDL
| | | 840
PLAINTIFFS DEFENDANTS
| IN RE | | Related Cases: |
ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS District of Hawaii:
LITIGATION 86-207, 86-225, 86-390

Reference must be made to the individual docket sheet for entries relating only to individual

Reference must be made to the mltidistrict litigation docket sheet for entries

common to two or more actions.

‘ ATTORNEYS
SEE ATTACHED SHEET FOR ATTORNEY LIST
ATTEST: A True Copy
WALTER A.YH: CHINN:
Clerk, Urited States District
Court, Desnact of Hawai
Dee
. By : —
Deputy
i
FEES PAID STATISTICAL CARDS-
FILING
MERE. CARD GATE MAIL
iF CASE WAS DATE RECEIPT NUMBER C.D. NUMBER
FULD IM 3-21-91 134888 Morgan Lewis NA: $5.00; 2 DF: 3100.00 JS-6
FORMA * £0 . . : 5-6
FonvA = | Ti-25-91 438 $5.00; nr: $10.00
DC-111 (Rev. &

UNITED STATES DISTRICT COURT DOCKET

Case 1:03-cv-11111-DK

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Page 2 of 50 PagelD.310

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{Reyv. 1/75) . . .
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF » DEFENDANT MDL 840
pOcKET NO. DEE OS’
IN RE ESTATE OF FERDINAND E. MARCOS MASTER
HUMAN RIGHTS LITIGATION PAGE _OF_ PAGES

DATE NR.

PROCEEDINGS

ATTORNEY LIST

Plaintiffs

ROBERT A. SWIFT

Kohn, Savett, Klein & Graf, P.c.
2400 One Reading Center

1101 Market St.
Philadelphia, PA
Ph: (215) 238-1700

19107

PAUL HOFFMAN

ACLU Foundation of Southern California
633- Ghetto Pluce- 1616 Beverly Blvd.
Los Angeles, CA 936005 60026

Ph: (213) 487-1720 977-9500
Fax #: (213) 250-3919

LIAISON COUNSEL

SHERRY P, BRODER
GROSVENOR CENTER

733 Bishop St., Ste 1800
Honolulu HI 96813

PR: (808) 531+1411

RANDALL H, SCARLETT

BROWN MONZIONE FABBRO ZAKARIA &
SCARLETT - The Barbary Coast Bldg
900 Montgomery Street

San Francisco CA 94133

(415) 834-1111

LILLIAN UY

Ocean View Center
707 Richards St.
Honolulu, Hawaii
Ph: (808) 528-3955

KENNETH ROTH

Human Rights Watch

350 Fifth Avenue 34th Floor
New York NY 10118

Ph: (212) 972-8400

96813

ROMEO CAPHLONG

Public Interest Law Center

Rm $12 National Life Insurance Bldg.
Ayala Ave.

Makati, Metro Manila

Philippines

{011-63-2) 812-3182

(ever for more listings)

Defendants

JAMES PAUL LINN/B.J. ROTHBAUM, JR.
LINN & NEVILLE

Bank of Oklahoma Plaza

201 Robert 5S. Kerr Avenue # 1200
Oklahoma City OK 73102~4289 Marc
Ph: (405) 239-6781 (for Deft Imeeysnot

JOHN J. BARTKO

Bartko, Welsh, Tarrant & Miller
900 Front Street, Suite 300

San Franciseo, CA 94111

Ph: (415) 956-1900

LEX R. SMITH
Kobayashi,

& Goda

8th Floor, Hawaii Building’
745 Fort St.

Honolulu, Hawaii 96813

Ph: (808) 539-8700.

+ DONALD C. SMALTZ

+ JEFFREY N.
»GEOFFREY C.

Morgan, Lewis & Bockids
Twenty-Sécond Floo
801 Setth Grand Ave.

Log Angeles: CA” 90017-4615
Pht (213) 61242500

(for deft tmee Marcoé-Manotoc}

Sugita,

BRUCE C. BIGELOW

MICHAEL 2. .MARSH

CASE MYRDAL BIGELOW & LOMBARDI s
Mauka Tower

737 Bishop St., Suite 2600

Honolulu, Hawaii 96813

Phe (808) 547-5400

(for deft Lei Investments, Ltd.)

Case 1:03-cv-11111-DKW-KJM Document1 Filed 01/01/93: Page 3 of 50 PagelD.311

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CIVIL POCKET CONTINUATION SHEET

PLAINTIFF

IN RE ESTATE OF FERDINAND £.

DEFENDANT

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MARCOS HUMAN RIGHTS LITIGATION

pocket No, MDL_840

PAGE OF ___. PAGES

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NR,

PROCEEDINGS

ATTORNEY LIST

Plaintiffs

ELLEN LUTZ

Buckalew & Lutz

22 Summer Street
Westborough MA 01581

Ph: (508) 366-5403

RALPH STEINHARDT

George Washington University
School of Law

720 20th St., N.W. Rm 343

Washington, D.C. 20052

Phi: (282) 994-5739

PETER LABRADOR

§56—Helekauwi-la—St. PO Box 8972
Suite—Lo? Honolulu HI
Heeeluwhey—Haweti-—O66T3 96813-0972
Pht —8.08)-53 8-77-64

JON VAN DYKE

4191 Round Top Dr.

Honolulu, Hawaii 96822

Ph: (808) 944-1139

RUBEN 0. FRUTO

5th Floor, Dominion Bldg.
833 A. Arnaiz Ave.
Makati, Metro Manila
Philippines

RODRIGO C. DOMINGO (Filipine Co-Counsel)
LPL Center, Unit 15-B

130 Alfare St

Salcedo Village, Makati City

Ph: 813-3497 Fax: 812-7997

DANIEL C. CATHCART

Magana Cathcart & McCarthy
1801 Avenue of the Stars,
Los Angeles CA 90067

Ph: (310) 553-6630

{The Golden Budha Corporation)

Ste 816

WARD BD. JONES

Chuck Jones and MacLaren
Pacific Tower, Ste 2750
1001 Bishop St

Honolulu HI 96813-3818
Ph: 533-3614

(The Golden Budha Corporation}

Defendants

ERIC T. SCHNETDERMAN

EVA CIKO

KIRKPATRICK & LOCKHART

1251 Avenue of the Americas
New York NY 10020-1104

Ph: (212) 536-3900

{Lei Investments Limited)

STEPHEN D. ALEXANDER
WILLIAM A. MOLINSKI
FRIED FRANK HARRIS SHRIVER &

JACOBSON
-725 South Figueroa St 38th Floor

‘Los Angeles CA 90017
Ph: (213) 473-2000 (Credit.Suisse) [Cv

FRIED FRANK HARRIS SHRIVER & JACOBSON
MICHAEL H. RAUCH

One New York Plaza

New York NY 10004

Ph: (212) 859-8000

(Cradit Suisse} [Cv 97-289]

DEWEY BALLANTINE

GEORGE T. CAPLAN

333 South Hope Street 30th Floor
Los Angeles CA 90071-1406

Ph: (213) 626-3399

(Swiss Bank Corporation) [Cv 97-289

DEWEY BALLANTINE

PAUL J. BSCHORR

JANIS M. MEYER

1301 Avenue of the Americas
New York NY 10019-6092

Ph: (212) 259-8000

(Swiss Bank Corporation) [Cv 97-289]

ROSS SACKS & GLAZIER

BRUCE S. ROSS

300 S$. Grand Avenue Suite 3900
Los Angeles CA 90071-3149
{Irene L. Silverman, as Special Admin
of the Estate of Ferdinand E. Martos)

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Case 1:03-cv-11111-DKW-KJM Document1_ Filed 01/01/03: ~ Page 4 of 50 PagelD.312

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(Rev, 1/75}
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PLAINTIFF CEFENDANT

MDL 840
IN RE ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION DOCKET NO.

PAGE OF, PAGES

DATE NR. PROCEEDINGS

ATTORNEY LIST

Plaintiffs Defendants

MELVIN CAESAR BELLI

Law Office of Melvin Belli

30 Hotaling Place PO Box 1347

San Francisco CA 94111[Palm Springs CA 92263
(415) 981-1849

STEPHEN V. BOMSE

HELLER EHRMAN WHITE & McAULIFPE
333 Bush Street

San Francisco CA 94104-4878

Ph: (415) 772-6000

(Republic of the Philippines}

GEORGE EF, GREER

HELLER EHRMAN WHITE & McAULIPPE
6100 Columbia Center

701 Fifth Avenue

Seattle WA 98104~70938

Ph: (206) 447-0906

(Republic of the Philippines)

CARL VARADY

1164 Bishop St Ste 1205

Honolulu HI 96813

Ph: (808) 523-8447

(Jose Maria Sison & Jaime Piopongco)

Claimants Objectors

JOSE YY. LAUCHENGCO, JR. CAROL A. SOBEL

3545 Wilshire Blvd Ste 247 100 Wilshire Blvd Ste 1000

Los Angeles CA 90010 Santa Monica CA 90401

Ph: (213) 380-9897 Ph: (310) 393-3055

(Victor B. Lovely, Jr., et al.) (Fidel Agcaoili, Juliete de Lima Sison,
Reverend Cesar Taguba, Celsa Hilao,
Adora Faye De Vera, Arturo Revilla,
Renato Pineda, Jose Duran and Paula
Romero}

Special Master

SOL SCHREIBER

Milberg Weiss Bershad Hynes & Lerach LLP

One Pennsylvania Plaza om
New YorkNY 10119-0165 *
Ph: (212) 594-5300

Case 1:03-cv-11111-DKW-KJM Document1_ Filed 01/01/03 *. Page 5 of 50 PagelD.313

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(Rev. 1/75}
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF PO GEFENDANT |
| | DOCKET NO.
| | PAGE oF PAGES
DATE NR. PROCEEDINGS

ATTORNEY LIST

Applicants

GOODIN MacBRIDE SQUERI RITCHIE & DAY, LLP

WAYNE T. LAMPREY

DAVID E. PYON

505 Sonsome Street 9th Floor

San Francisco CA 94111

Ph: (415) 392-7900

(Bankruptcy Estates of Melvin M. Belli and Caeser M. Belli)

Case 1:03-cv-11111-DKW-KJM Document1_ Filed 01/01/98" Page 6 of 50 PagelD.314

NR PROCEEDINGS

TRANSFER ORDER ROBERT H. SCHNACKE (Judge of the Multidistrict Litigation Panel)

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Nov lL 2 Notice of Withdrawal, Entry of Counsel and Consent Thereto MANUEL L. REAL
[Richard A. Hibey and the law firm of Anderson, Hibey, Nauheim and Blair
withdraw as counsel for the Marcos defts and James Paul Linn of Linn &
Helms enter as counsel for the Marcos defts]

19 3} NOTICE ~ Pretrial Conference set for 11-26-90 at 9:00 a.m. before Judge Manuel L.
Real + parties previously notified by phone

cc: Robert Swift, Sherry Broder, Paul Hoffman, Randall Scarlett, Lillian
Uy, James Linn, John Bartko, Lex Smith

21 4 Status Conference Statement of Defendant the Estate of Ferdinand £. Marcos

26 EO: Received from Northern Dist of CA the files for Civil 90-00670 (their
case # 86-975) and Civil 90-00671 (their case # 86-1449) - also included
are certified copies of docket sheets

5 EP: Pretrial Conference -

[Present for pltffs: Swift, Broder, Hoffman, Van Dyke, Scarlett, Ramirez-Uy,
Belli; present for defts: Rothbaum, Smith]

Judge and attys discussed status of this case. As of this time, there are
no problems except for some discovery problems. Briefing Schedule:
Production of documents made by 3-29-91

All motions filed by 12-18-90

Response to motions filed by 1-8-91

Reply to motions filed by 1-15-91

Hearing on all motions on 1-28-91 (location & time to be determined later)

Pretrial Order to be filed by Swift.
(Debbie Parker) MANUEL L. REAL

30 6 Memorandum in Support of Proposed Pretrial Order No. 1 and in Opposition to
Alternative Motion for Reconsideration - All Cases - on behalf of pltffs

Dec 3 Transcript of Proceedings ~- 11-26-90 - (Deborah D. Parker) - Orig. - 28 pages

4 7 | Reply Memorandum in Support of Defendant's Objection to Proposed Pretrial Order
No. I, or in the Alternative, Motion for Reconsideration of the Terms of

Pretrial Order No. 1 or for Protective Order and Certificate of Service
All Cases - on behalf of Ferdinand Marecos

5 & Objection of Defendant to Proposed Pretrial Order No. 1, or in the Alternative,
Motion for Reconsideration of the Terms of Pretrial Order No. I or for
Protective Order - All Cases ~ on behalf of deft Estate of Ferdinand E. Marcos

9 Defendant's Brief in Support of Objection of Defendant to Proposed Pretrial Order
No. 1, or in the Alternative, Motion for Reconsideration of the Terms of
Pretrial Order No. 1 - All Cases ~ on behalf of defts

see page 2

wCase 1:03-cv-11111-DKW:KJM Document1 Filed 01/01/03"

~. Page 7 of 50 PagelD.315

CiviL, DOCKET CONTINUATION SHEEA wha

PLAIN TIFE DEFENDANT
MASTER DOCKET pockeT No. MDL 840
IN RE ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION PAGE OF PAGES
DATE NR. PROCEEDINGS
1999
Dec 16 id EO: To All Counsel - All documents must come through Clerk's Office, District
of Hawaii for processing. All motions, memorandum, briefs, etc. are to
be filed with this office. We will keep the original and we will send a
copy to Judge Real for his consideration. All orders must be lodged with
our office; we will send the original order to Judge Real. When the judge
signs said order, the copies will be conformed and filed and returned to
the counsel who submitted the order.
cc: Swift, Hoffman, Broder, Scarlett, Uy, Linn/Rothbaum, Bartko. Smith
MANUEL L. REAL
18 11 Application of a Non-Resident Attorney to Appear and Particiapte in a Particular
Case; ORDER MANUEL L. REAL
[Bernard J. Rothbaum of Linn & Helms may appear as counsel for Ferdinand
Marcos with local counsel, Lex R. Smith]
12 Supplemental Memorandum of Defendant in Support of Motions to Dismiss - All Cases
13 Appendix I to Supplemental Memorandum of Defendant in Support of Motions to
Dismiss ~ on behalf of deft - All Cases
1991
Jan 4 14 NOTICE - Various Motions to be heard before Judge Real on 1-28-91 at 9:00 a.m.
in Honolulu, Hawaii - ce: Swift; Hoffman; Broder; Scarlett; Uy; Linn/Rothbaun;
Bartko; Smith. Parties were notified by phone on 1-3-91.
? 15 PRETRIAL ORDER NO. 12 - MANUEL L. REAL
ce: all parties
8 16 Memorandum of Law in Opposition to Supplemental Motion to Dismiss -
All Cases - on behalf of Plaintiffs
9 L? Separate Memorandum of Points and Authorities of Sison and Piopongco Plaintiffs
in Opposition to Motion to Dismiss ~ Civil 86-0225 and 87-0138
- 18 : Certificate of Service ~ (Re: Pretrial Order No. 1: Case Management Filed
January 7, 1991) - All Cases - on behalf of Plaintiffs
13 Declaration of Arnedo §. Valera -~ All Cases ~ on behalf of Plaintiffs
15 20 Reply Memorandum of Defendant in Support of Motion to Bismiss - All Cases
18 21 Plaintiffs’ Second Memorandum of Law in Opposition to Motion to Dismiss;
Exhibits A thru C - All Cases
22 | 22 Certificate of Service (Re: Plaintiffs’ Second Memorandum of Law in Opposition
to Motion to Dismiss) - All Cases - on behalf of Pltffs
see page 3

Case 1:03-cv-11111-DKW=KJM Document1 Filed 01/01/Q3°" Page 8 of 50 PagelD.316

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE ESTATE OF FERDINAND E. MARCOS HJMAN RIGHTS LITIGATION

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PROCEEDINGS

DATE NR:
1991
Jan 28 230 EP: Deft's Motion to Dismiss - DENIED. Deft's response to Plref's Motion for Class
Certification is due by 2-18-91. All depositions will be completed by
May 31, 1991. Pleffs' Motion for Class Certification, Pltff Trajano's
Proof of Damages Hearing and Status Conf set for 3-25-91 at 9:00 a.m.
(ESR - KKO) MANUEL L. REAL
Feb 15 24 Sison/Piopongco Plaintiffs! Memorandum Re Metion for Class Action in Hilao v.
Marcos and DeVara v. Marcos - Ail Cases
25 Plaintiffs’ Second Motion for Issuance of Letters Rogatory; Exhibit A - All Caseg
19 26 Defendant's Brief in Opposition to Certain Plaintiffs’ Motion for Class
Certification - All Cases and Civil 86-0225 and 86-0390
20 27.» «Amended Certificate of Service Re: Plaintiffs’ Second Metion for Issuance of
: Letters Rogatory and ORDER ~ All Cases
28 | ANSWER of Defendant Estate of Ferdinand E. Marcos, to Plaintiffs’ Complaint -
Civil 90-671
29 ANSWER of Defendant, Estate of ferdinand E. Marcos, to Plaintiffs’ Complaint -
Civil 90-670
30 | ANSWER of Defendant, Estate of Ferdinand E. Marcos, to Plaintiffs’ Complaint -
Civil 86-207
31 ANSWER of Defendant, Estate of Ferdinand E. Marcos, to Plaintiffs’ Complaint -
Civil 86-225
32 ANSWER of Defendant, Estate of Ferdinand E. Marcos, to Plaintiffs’ Complaint -
Civil 86-390
25 33 | Certificate of Service ~- on behalf of pltff re discovery
26 34 Pretrial Order No. 2: Case Management MANUEL L. REAL
ire hrng of 1-28-91] All Cases
ce to all parties by pitff's local counsel, 5. Broder
35 ORDER Denying Defendants’ Motion to Dismiss MANUEL L. REAL
All Cases [from hrng of 1-28-91]
36 ORDER; Letters Rogatory MANUEL L. REAL
All Cases - on behalf of pltffs
27 Transcript of Proceedings - 1-28-91 - (V/ARS) - Orig.
Mar 1 / 37 Plaintiffs' Motion for Class Certification; Memorandum; Exhibits A through H;

Netice of Motion; Proposed Order; and Certificate of Service - (no date
in notice; motion is scheduled to be heard on 3-25-91 at 9:00 a.m.) «
Civ 86-390; Civ 86-33

see page 4

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CIVIL DOCKET CONTINUATION SHEEP

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IN RE ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION pace 4 or___ paces

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Plaintiffs' Reply Memorandum in Support of Class Certification; Exhibits IL thru
T - Re: Civ 86-0390, Civ 86-0333

EO: Civil 86-0333, Adora Faye de Vara, et al vs Marcos, et al is not at this
time included in MDL - notified Sherry Broder's office - request will be
made to Judge Real to include this case as tag-along

Amended Certificate of Service Re Plaintiffs' Motion for Class Certification
Filed March 1, 1991 + Civil 86-390, Civil 86-333

Notice of Withdrawal as to Imelda R. Marcos, Oniy, and Consent Thereto
All Cases {John J, Bartko and the law firm of Bartko, Welsh, Tarrant
and Miller withdraw as counsel for deft Imelda R. Marcos only]

Memorandum in Support of Entry of Default Judgment Against Imee Marcos-Manotoc;
Affidavit of Sherry Broder; Exhibits A thru F - Civil 86-0207
ion behalf of Plrffs and Trajano Plitffs]

[Proposed] Notice of Motion and Motion of Imee Marcos-Manotoe to Dismiss
Civil 86-207 (no hrng date}

Defendant Imee Marcos-Manotoc's Objections to Evidence; Certificate of Service
Civil 86-207

Stipulation - [by & between counsel for pleff and counsel for deft that the
answer filed by deft on 2-15-91 in 86-225 shall be deemed to be filed in thig

action as the response to the complt] - Civ 87-138

EP: (1) Deft's M/Set Aside Default - DENIED. Dennis Nakata, CST.

(2) Plaintiff Trajano's Proof of Damages Hearing ~
Mrs. Agapita Trajano (Mother of Archimedes} - CST
Polinar Trajano (Brother of Archimedes) - CST
Marcita Trajano (Sister of Archimedes) - CST
Dr. James Navin ~ CST
Dr. James Marsh ~ CST
Exhibits admitted: Plaintiff's Exhibits #1-7
$236,000.00 - to the estate
$175,000.00 - to Mrs. Agapita Trajano for pain & suffering
$2,500,000.00 - punitive damages
Attorneys’ fees subject to presentation by Plaintiffs’ Counsel - pursuand
in the Trajane case - Article 2208, Chapter 1 of the Civil Code of the
Philippines, Paragraphs 1, 5, 9 & 11. Broder is to prepare Findings of
Fact and Conclusions of Law and Judgment is to be presented to the Judge

(3) Plaintiff's M/Class Certification -
Court certifies the class 23(b){1)(B) Federal Civil Judicial Procedure
and Ruels to be in effect to all civilian citizens of the Republic of
the Philippines - their heirs and beneficiaries between 19727-19846:

(contd on page 5)

Case 1:03-cv-11111-DKW-KJM Document1 _ Filed 01/01/03" Page 10 of 50 PagelD.318

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION “pace Sor paces

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: Declaration of Imee Marcos-Manotoec - Civil 86-207

Supplement to Defendant Imee Marcos-Manotoc's Special Appearance to Set Aside

|Certificate of Service - Civil 86-333

(Pitff's M/Class Certification, contd from page 4)
a} tortured by military and paramilitary groups while in their custody.
b) summarily executed by military and paramilitary groups.
ce) seized in cause to disappear by military and paramilitary groups and
are presumed dead.

a, b, & ¢ to be sub-class of the Class.
(ESR ~ David Ernce) MANUEL L. REAL

Default, Notice of Metion and Motion Pursuant to Federal Rule of Civil
Procedure 55€c); Memorandum of Points and Authorities in Support Thereof -
3-25-91 at 9:00 a.m. before Judge Real ~ Civil &6-207

Application of a Non-Resident Attorney to Specially Appear and Participate in a

Particular Case; ORDER MANUEL L. REAL
Ire Jeffrey N. Brown of Morgan, Lewis & Bockius on behalf of deft Imee

Marcos-Manotoc- Civil 86-207]

Application of a Non-Resident Attorney to Specially Appear and Participate in a
Particular Case; ORDER MANUEY. L. REAL
fre Donald C. Smaltz of Morgan, Lewis & Bockius on behalf of deft Imee

Marcos-Manotoc - Civil 86-207}

Ex Parte Application for Order Shortening Time Re Motion to Set Aside Default
Under Federal Rule 55(¢) - on behalf of deft Imee Marcos-Manotoc - Civ 86-207
ito be heard on 3-25-91] MANUEL L. REAL

Defendant Imee Marcos-Manotoc's Special Appearance to Set Aside Default, Notice of
Motion and Motion Pursuant to Federal Rule of Civil Procedure 35{c);
Memorandum of Points and Authorities in Support Thereof + 3+25-91 ar 9:00

Civil 86-207

Certificate of Service Re Defendant's First Request for Production of Documents
All Cases

Certificate of Service Re Stipulation - on behalf of deft Ferdinand Marcos -
Civil 87-138
Transcript of Proceedings - 3-25-91 - (V/ARS) - Orig.

Sison Plaintiffs' Motion for Issuance of Supplemental Letters Rogatory ORDER -
Civil 86-0225 MANUEL L. REAL /CHINN

Certificate of Service - Civil 86-207
Certificate of Service - Civil 86-390

Certificate of Service - Civil 686-225

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“Case 1:03-cv-11111-DKWAKIM  -Racument 1 filed, QOL Q3 Page 11 of 50 PagelD.319

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IN RE: ESTATE OF FERDINAND E. MARCOS. HUMAN RIGHTS LITIGATION 6
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- Certificate of Service - Civil 87-138
: Certificate of Service - Civil 90-676

Certificate of Service - Civil 90-671

_ Notice of Appearance of Counsel - on behalf of Sison & Piopongeco- Kenneth Roth

and Romeo Capulong enter as counsel - Civil 86-225; &7-138

' ORDER Granting Class Certification MANUEL L. REAL

[re hrng of 3-25-91 - the Court certifies the following subclasses:
(a) persons tortured by military and paramilitary groups;
(b) heirs and beneficiaries of persons summarily executed by military
and para-military groups;
(c}) heirs and beneficiaries of persons who disappeared after seizure by
military and para-military groups.
Subject to further order of the Court, Maximo Hilao, Celsa Hilao, Danila
de la Fuente, Gary DeGuzman, Renato M. Pineda, Joe M. Managbanag, Adora F.
DeVera, Dominiciano Amparo, Jose Duran, Josefina Foreadilla, Arturo
Revilla and Christopher Sorio are designated as class representatives; and
Robert A. Swift, Sherry P. Broder, Jose Mari Velez, Jon Van Dyke and Lilliar
Ramirez Uy are designated as counsel for the class.
Within i0 days hereof, Lead Counsel for the parties shall submit for Court
approval a proposed form of notice to the class in English and Tagalog. |

Civil 86-390, 846-333

[Proposed|Judgment ~ on behalf of deft Imee Marcos-Manotoc - re default judgment
heard on 3-25-91 - Civil 86-207

Certificate of Service

Application for Approval of Attorneys' Fees and Costs; Memorandum in Support
of Application for Attorneys’ Fees and Costs; Affidavit in Support of
Attorneys’ Fees and Costs; Exhibits A through D - on behalf of pltffs

Civil 86-207

NOTICE - PT Conf set for 7-8-91 at 9:00 a.m. before Judge Real in Honolulu, HI.

Motions in conformance with Local Rule 220 will also be heard at this time.
ce: Swift, Himman, Broder, Scarlett, Uy, Roth, Capulong, Linn/Rothbaun,
Bartko, Smith, Smaltz/Brown (also to Roth & Capulong. and Lutz, Steinhardt,
Labrador & Van Dyke)

\Joint Stipulation Re: Discovery Dispute; Exhibits A thru E

All Cases {dispute re taking of depos]

[Notice of Depositions - on behalf of pltffs - All Cases

Supplemental Affidavit of Sherry P. Broder in Support of Attorneys’ Fees and
Costs - on behalf of Plaintiffs - Civil 86-207

see page 7

Case 1:03-cv-11111-DKW-KJM Document1_ Filed 01/01/03" =.

Page 12 of 50 PagelD.320

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEFENDANT
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITICATION _pocker no, MDL 840
Master | Pace’ oF paces
i
DATE NRL PROCEEDINGS
1991 | 4
May 10 71 Notice of Taking Depesition Upon Written Interrogatories; Interrogatories -
on behalf of pltffs - ALL Cases
72 Notice of Motion; Plaintiff's Motion for Leave to File a Consolidated Amended
Complaint; Memorandum in Support of Plaintiffs' Motion for Leave to
File a Consolidated Amended Complaint - 7-8-91 at 9:00 a.m. (Judge Real)
73 Motion for Approval of Class Notice « referred to Judge Real - on behalf of pleffs
| Civil 86-390 & 86-333
13 | 74 > Findings of Fact; Conclusions of Law; ORDER Denying Defendant Imee Marcos-Manotoc |
Motion to Set ASide Entry of Default MANUEL L. REAL
on behalf of pltffs - cc: all parties Civ 86-207
/75 Findings of Fact; Conelusions of Law; ORDER Granting Default Judgment and Rule
54(b) Certification MANUEL L. REAL
[re hrng of 3+25-91; default judgment against Defendant Imee Marcos~Manotog
ec: all parties Civ 86-207
76 ORDER Granting Application for Approval of Attorneys’ Fees and Costs MANUEL L. Ri
{[Pltffs' entitled to attys' fees in the amount of $232,344.49, including
general excise tax, and costs in the amount of $14,622.50 for a total of
$246,966.99] civ 36-207
cc: all parties
77 JUDGMENT MANUEL L. REAL
[re 3-25-91 hrng ~ default on behalf of pltff Trajano against deft
Imee Marcos-Manotoc -to pltff Estate of Archimedes Trajano for lost
earnings: $236,000; to pltff Estate of Archimedes Trajano for suffering:
$175,000; to pltff Agapita Trajano for loss of comfort: $1,250,000;
to pleffé Estate of Archimedes Trajano and Pleff Agapita Trajano together,
i for punitive damages: $2,500,000; to both pltffs Estate of Archimedes
Trajano and Pltff Agapita Trajano together, attys' fees and expenses of
| litigation required for prosecution of this judgment: $246,966.99]
ce: ail parties Civil 86~207
14 78 Certificate of Service Re: Notice of Taking Deposition Upon Written Interrogatoriles
! on behalf of pltffs - All Cases
i5 793 Amended Certificate of Service Re Notice of Motion Filed May 10, 1991 -
| on behalf of pltffs - All Cases
/ 80 Amended Notice of Depositions - on behalf of pleffs - All Cases
16 8h EP: [Minutes from hrng taken on 5-10-91 in Los Angeles, Central Dist of CA] -

§

Telephone conf. Call Re Discovery Dispute -

Court has read and considered the joint stipulation filed $-3-91 (telecopied
to Los Angeles) by counsel detailing what the discovery issues are at this
time. Court hears oral argument of counsel and ORDERS:

The depositions will be taken in the Philippines. The pitffs will pay to

feontd on page 8]

“Case 1:03-cv-11111-DKWAKIM  ROCUMSAL Low FilGAQNG/O8 Page 13 of 50 PagelD.321

PLAINTIFE

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

DEFENDANT
SOCKET NO _MD Lo 840

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DATE — NR.

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21 86

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: 92

Certificate of Service ~ re Civil Minute Order (filed 5-16-91 & taken on 5-10-91)

Plaintiffs’ Memorandum Re: Defendant's Motion for Reconsideration of Order

‘Entry of Appearance - on behalf of Plaintiffs - Ruben 0. Fruto & Redrigo C.

[Proceedings from hrng of 5-10-91 in L.A., contd from page 7}
defendants' counsel the difference between the coach fares
between Oklahoma City and Hawaii and the Philippines.

The Court is NOT ruling on the adequacy of the answers to
interrogatories or the issue of trial depositions as those
matters are not before the Court at this time.

(Donna Fitzsimmons - Ph: (213) 894-3015) MANUEL L. REAL
cc: Robert Swift

on behalf of plrff - All Cases

ORDER - [re class notice] LAUGHLIN E. WATERS for MANUEL L. REAL
Civ 86-390 & 86-333
cc: all parties

Notice of Deposition - on behalf of pltffs - All Cases

Notice of Motion; Plaintiff's Motion to Compel Deposition Testimony; Memorandum
in Support of Plaintiffs’ Motion to Compel Deposition Testimony; Affidavit
of Counsel; Exhibits A - D - 7-8-91 at 9:00 a.m. (Judge Real) All Cases

NOTICE OF APPEAL - on behalf of deft Imee Marcos-Manotoc from Judgment of
5-13-91 - Civ 86-207 (CA 91-15891)

Amended Notice of Taking Deposition Upon Written Interrogatories; Interrogatories
Exhibit A - on behalf of pleffs - All Cases

Motion of Defendant for Reconsideration of Order Regarding Notice of Pendency of
Class Action; Affidavit of B.J. Rothbaum, Jr.; Affidavit of Lex R. Smith;
Exhibit "Al; Certificate of Service - All Cases - referred to Judge Real

Joint Stipulation Re: Discovery Dispute; Exhibit A
All Cases

Certificate of Service Re: Notice of Deposition Filed May 17, 1991 - on behalf of .
Pltffs All Cases

Regarding Notice of Pendency of Class Action; Affidavit of Sherry P.
Broder - All Cases

Second Amended Notice of Taking Deposition Upon Written Interrogatories;
Interrogatories; exhibit A - on behalf of Plaintiffs ~ All Cases

Amended Certificate of Service Re: Amended Notice of Taking Deposition Upon
Oral Examinaiton Dated May 13, 1991 - on behalf of Plaintiffs - All Cases

Domingo, Jr. ~ Civil 86-390 & Civil 86-333 CHilao, et al & DeVara, et al

Case 1:03-cv-11111-DKW-KJM Document1 Filed 01/01/03". Page 14 of 50 PagelD.322

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CIVIL OOCKET CONTINUATION SHEET

CEPENODANT

PLAINTIFF

In Re: Estate of Ferdinand E. Marcos Human Rights Litigation
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PROCEEDINGS

95 | Notice of Motion; Motion to Extend Deadline for Deposition; Affidavit of Michael UL.
Gale - on behalf of Plaintiffs - All Cases - 7-8-91 at 9:00 a.m. (Judge Real]

96 Notice of Motion; Plaintiff's Motion to Compel Discovery; Memorandum in Support
of Plaintiffs’ Motion to Compel Discovery; Exhibits A and 8; Affidavit of
Counsel; Certificate of Compliance ~- All Cases - 7-8-91 at 9:00 a.m. (Judge teal)

June 3 Notice of Appeal (NOA 5/21/91) sent to Clerk, 9th CCA & to all counsel

97 ORDER - [depo of Charles Salmon may take place after general depo cut-off of
5-31-91 but no later than 6-7-91] MANUEL L. REAM
ec: all parties Re: Civ 86-0390 & 86-0333

98 Stipulation Re Substitution of Defendants; ORDER MANUEL L. REAY,
[Imelda Marcos substituted as legal representative of deft Ferdinand

Marcos, deceased, pursuant to Rule 25, F.R.C.P.]
All Cases

10 99 Notice of Motion; Motion for the Scheduling of a Settlement Conference
All Cases - 7-8-91 at 9:00 a.m. (Judge Reali) - on behalf of pitffs

100 Notice of Motion; Motion to Consolidate Cases for Trial and Bifurcate Certain
Issues; Memorandum in Support of Plaintiffs' Motion to Consolidate
Cases fer Trial and Bifurcate Certain Issues - All Cases - 7-8-91 at
9:00 a.m. (Judge Real) ~ on behalf of pleffs

19 lol Memorandum in Opposition to Plaintiff's Metion to Compel Deposition Testimony;
Declaration of Counsel; Certificate of Service - on behalf of deponents
Arturo ©. Aruiza, Rexor P. Ver, Fortuna Marcos Barba

20 102 Transcript Designation and Ordering Form - (by Jeffrey Brown)
5-16-91 (Donna Fitsimons); 10-27-86 (Sandra Maunez); 7-8-86 (TC);
11-26-90 (Debbie Parker); i-28-91 (Keiko Okahashi); 3-25-91 (David E. Ernce)

21 103 Memorandum of Points and Authorities Re: (1) Motion to Consolidate; and
(2) Status Conference; Declarations of Paul L. Hoffman and Eugene Chao

on behalf of Sison/Piopongeo plreffs ~ Civ 86-225 & 87-138

104 | Response of Defendants to Motion for Scheduling of a Settlement Conference and
Cross~Motion to Strike - All Cases

105 = Defendant's Response to Motion to Consolidate Cases for Trial and Bifurcate

Certain Issues ~ All Cases

24 ' 106 | Plaintiffs’ Reply Memorandum re Motion to Consolidate Cases for Trial and

Bifurcate Certain issues - All Cases

25 (107 Response of Defendant Imelda R. Marcos to Memorandum Re: Motion to Consolidate;
Motion te Bifurcate and Status Conference - Civ 86-225 & 87-138

27 , 108 . Reply to Defendant Marcos’ Response to Motions to Consolidate, to Bifurcate and
for Status Conference - on behalf of Sison/Piopongeo pltffs -
Civil 86-225; 87-138

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=» Page 15 of 50 PagelD.323

CIVIL DOCKET CONTINUATION SWEET

In Re:

PLAINTIFF

Estate of Ferdinand EF. Marcos Human Rights Litigation MASTER pace 195- paces

DEFENDANT MDL 846
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Plaintiffs’ Reply to Memorandum in Opposition to Plaintiffs' Motion to Compel

Class Action; Jury Trial Demanded; Consolidated AMENDED COMPLAINT - on behalf of

Report on Class Notice and Mection to Amend Order Entered May 17, 1991;

Certificate of Service Re: Consolidated Amended Complaint Filed July 22, 1991

Notice of Opting Out of Class ~ Pltff Jose Maria Sison opts out of class

Stipulation of Dismissal with Prejudice Re Christopher Sorio; ORDER MANUEL L. REA

ORDER Granting Plaintiffs! Motion te Compel Deposition Testimony Filed May 17, 19

Deposition Testimony - All Cases

{Ordered that deft 8 request for an evidentiary hrng concerning the best
practicable notice is denied and the May 17, 1991 order ig upheid. ]
cc: ail parties ~- Civil 86-390 % 86-333

Pretrial Conference & Various Motions -

1) Pltff's M/Leave to File a Consolidated Amended Complt - GRANTED

2) M/Compel Deposition Testimony of Rexor Ver, Wylor Ver, Arturo c. Aruiza,
Fortuna M. Barba and Trinidad Alconcel - GRANTED

3) M/Extend Deadline for Deposition ~ GRANTED

4) M/Compel Discovery of Wylor Ver - GRANTED

5) M/Schedule Settlement Conf - DENIED

6) M/Consolidate Cases for Trial and Bifurcate Certain Issues - GRANTED
Mr. Swift apprised the Court on the progress of the letters rogatory.

ORDERED thac all motions for Summary Judgement be filed no later than
9-35-91; all responses be filed no later than 9-25-91; and all replies

be filed no later chan 10-3-91. Hearing on Motions for Summary Judgment
is set for 10-21-91 at 9:00 am.

JURY TRIAL: 2-18-92 ar 9:00 a.m.
FINAL PRETRIAL CONF: 1-20-92 at 9:00 a.m.
(Tc) MANUEL L. REAL

Pleff - Civ # 86-390

Exhibit A - on behalf of PIltfe - civ ¢ 86-390

on behalf of pitffs ~ Civ # 86-390

Civ 86-390; 86-225

Civ 86-390

Civ 86-333

and Granting Plaintiffs' Motion to Compel Discovery Filed May 31, 199]
All Cases MANUEL L. REAL

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Case 1:03-cv-11111-DKW;KJM Document1 Filed 01/01/03"": Page 16 of 50 PagelD.324

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iRev. 1 73)
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEPENDANT
DOCKET NO MDL 840
In Re: Estate of Ferdinand E. Marcos! Human Rights Litigation

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Jul 30 119

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Aug 1
8 121

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i5 124

23 i253

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28 126(a]

| ORDER Granting Plaintiffs’ Motion to Extend Deadline for Deposition MANUEL L. REAL

depo of Colonel Arthur Balmaceda may be taken after the discovery cut-off
of May 31, 1991, and within 30 days of the date of this order]

All Cases

Stipulation and ORDER MANUEL, L. REAL
{the action in Trajano v Marcos, Civ 86-207, dismissed without prejudice
only as to the claims against Deft, the Estate of Ferdinand E. Marcos,
pursuant to Rule 41(a). It is further stipulated that said claims against
the Estate of Ferdinand E. Marcos be consolidated with and included in
the class actions known as Hilao vs Marcos, Civil 86-396, and DeVara vs

Marcos, Civil 86-333!

Transcript of Proceedings ~ 5-10-91 - (Donna K. Fitzsimons) ~- Orig.

Notice of Motion; Motion for Civil Contempt; Memorandum in Support of Plaintiffs'
Motion for Civil Contempt; Affidavit of Sherry P. Broder; Exhibits A thru C
All Cases - on behalf of pltffs (see doc #124 below)

ORDER MANUEL L. REAL
{Upon consideration of the Report of Plaintiffs regarding the giving of class
notice and their Motion to Amend the Court's Order of May 17, 1991, it is
hereby ordered that paragraph 5 of this Court's Order entered May 17, 1991
is amended to provide that any requests of class members to request exclusion
from the class must be post-marked on or before August 23, 1991. Paragraph | 4
of said Order is amended to provide that Plaintiffs counsel's list shall be
filed with the Court on or before September 16, 1991}

Civ 86-399

ORDER Granting Motion to Consolidate Cases for Trial and Bifurcate Certain Issues
lt is hereby ordered that the cases consolidated in this litigation for
pretrial proceedings are hereby consolidated for trial; it is hereby further
ordered that damage issues are bifurcated for trial following a trial of ail
other issues] All Cases MANUEL L. REAL

NOTICE ~ Plaintiffs' Motion for Civil Contempt set for 10-7-91 at 9:00 before
Judge Real in U.S.D.C. Honolulu - notified all parties

Notice of Change of Address -[effective 8-19-91, the ACLU Foundation of Southern
California is moving its offices] - on behalf of Sison/Piopongeo Pltffs
All Cases

Notice of Change of Address - [effective 8-19-91, the ACLU Foundation of Southern
California is moving its offices] - 86-225 ~ on behalf of Sison Plrffs

Ex Parte Motion to Hold in Default on Motion to Rescind Class Action and Court
Order Dated April 15, 1991 Relative Thereto ~ Civ 86-390 & 86-333
on behalf of petitioner pro se C.D. Arana and Feliziano Angeles

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CivIL DOCKET CONTINUATION SHEET:

PLAINTIFF DEFENDANT
pockeT NO MDL 840
IN RE: ESTATE OF FERDINAND E. NARCOS HUMAN RIGHTS LITIGATION :
MASTER pace l2or paces
DATE NR PROCEEDINGS
1991
Aug 29 127 Notice of Motion; Motion for Stay of Execution of Order Granting Plaintiffs’
Motion to Compel Deposition Testimony; Memorandum in Support of Motion;
Declaration of Counsel; Exhibits "A"+"B": Certificate of Service -
10-7-91 at 9:00 a-m. (Judge Real) ~- on behalf of deponents Arturo C.
Aruiza, Rexor P. Ver, Fortuna Marcos Barba, and Wylor Ver - All Cases
Sep 9 128 Motion for Summary Judgment of Estate of Ferdinand Marcos ~ All Cases
129 Brief in Support of Motion for Summary Judpmenr of Estate of Ferdiand Marcos -
All Cases
130 List of Gpt-Quts - Cv 86-390 - by pltffs
13 i310 Notice of Hearing Motion for Summary Judgment; Certificate of Service -
on behalf of deft Ferdinand Marcos - All Cases - 10+21-91 at 9:00 a.m,
1? 132, Memorandum in Opposition to Motion for Civil Contempt Filed on August 8, 1991;
Declaration of Counsel; Certificate of Service - on behalf of Deponente
Arturo €. Aruiza, Rexor P. Ver, and Fortuna Marcos Barba - All Cases
133 Memorandum in Opposition to Deponents' Motion to stay Order Compelling Deposition
Testimony - on behalf of Plaintiffs ~ All Cases
18 134 | NOTICE - Deft's M/SJ advanced from 10-21-91 to 10-7-91 at 9:00 a.m.; opposition
due 9-24-91; replies due 10-1-91
ce: all parties
20 135 | Memorandum in Opposition to Motion for Civil Contempt Filed on August 8, 1991;
Declaration of Samuel P. King, Jr. - A1L Cases-on behalf of deponent
Trinidad Alconcel
24 (136 Memorandum of Law in Opposition to Motion for Summary Judgment - All Cases
on behalf of pltffs
25 2137 “Separate Memorandum of Points and Authorities of Sison/Piopongco Plaintiffs in
Oppesition to Motion for Summary Judgment; Declarations of Jose Maria
Sison, Eugenio de Mauricio, Manuel Carino, Amelia Sison, Jaime Piopongeo,
Elizabeth Piopongeo, and Eugene M. Chao ~ Civ 86-225, 87-138
26 138 ORDER - $CCA - petition for writ of mandamus is denied; motion to satay the court'g

July 30, 1991 order pending consideration of the petition is denied as
moot.
ce: 211 parties

see page 13

Case, 1:03-cv-11111-DKW-KJM Document1_— Filed 01/01/03". Page 18 of 50 PagelD.326

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION i

DEFENDANT MDL 840
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Amended Notice of Taking Depesitions Upon Oral Examination; Exhibit A -
on behalf of Plaintiffs

Notice of Filing Original Declaration of Colonel Eugenio de Monteverde Mauricio
on behalf of Jose Maria Sison ~- Cv 86-225

Notice of Filing Original Declaration of Jose Maria Sison -on behalf of
Jose Maria Sison - Cv 86-225

Supplemental Affidavit of Sherry P. Broder in Support of Memorandum of Law in
Opposition to Motion for Summary Judgment Dated September 24, 1991 -
on behalf of Plaintiffs

Reply Brief of Defendant in Support of Motion for Summary Judgment - All Cases

Application of a Non-Resident Attorney to Appear and Participate in a Particular
Case; ORDER MANUEL L. REAL
{re Conner Helms of Linn & Helms, for deft F. Marcos]

EP: M/Civil Contempt - Counsel agrees to continue this motion for 35 days
pending Mr. Alconcel's deposition. Court scheduled Mr. Alconcel's
deposition in Ms. Sherry Broder's office at 1:30 p.m. on 10/7/91.

Deft's M/Summary Judgment ~ DENIED.

Ex Parte Motion filed on 8/28/91 will deem to be a notice of opt-out to
Feliciano Angeles and C.D. Arana if they are class membera; if not, it
is filed for the purpose of filing only.

(Stephen Platt) MANUEL L,. REAL

Notice of Motion; Plaintiffs' Motion for Temporary Restraining Order and Preliming
Injunction; Plaintiffs' Memorandum in Support of Motion for Temporary
Restraining Order and Preliminary Injunction; Affidavit of Counsel;
Exhibits A thru E; Preposed Order; Certificate of Service ~ All Cases

(No date set)

EO: Per phone call from Brigette, Judge Real's law clerk, phone conference to
be held re above M/TRO - on 11/6/91 at 1:00 p.m. Hawaii time. Sherry

Broder to notify all parties and initiate the call to Judge Real's

chambers. MANUEL L. REAL

Memorandum in Opposition to Plaintiffs’ Motion for Temporary Restraining Order
and Preliminary Injunction - on behalf of deft ~ All Cases

see page 14

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CIVIL DOCKET CONTINUATION SHEET

BP LAINTIFE

IN RE:

ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION MASTER |
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DEPENDANT MDL 840
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PROCEEDINGS

NOTICE ~ hrng re Preliminary Injunction and Permanent Injunction set for

11/15/91 vie conf call at 1:00 p.m. Hawaii time (3:00 pm California
time). Testimony may be by declaration; if parties cannot agree on
@ procedure re witnesses, hrng shall be in Judge Real's courtroom in

| Ex Parte Motion for Reconsideration of Court Action Refusing to Allow Plaintiffs

Angeles and Arana to Intervene in Above-Entitled Cases, and Illegally
Refusing te Allow Said Plaintiffs Access to This Court and Cases and
Tliegally Refusing to Allow INtervening Plaintiffs ta Represent Themselves
Equally with All Gther Parties and Counsels; and to Inform the Honorable
Manuel Real that a Complaint Will Be Filed Against Him for Allowing This
Court to Be Degraded and Corrupted By a Conspiracy for Lawyers to Get the
Benefits of the Parties Without Being Parties Instead of Confining Themselv
to Attorneys’ Fees Due From Plaintiffs Hilao and Devera Only -

ORDER Granting Plaintiffs' Motion for Temporary Restraining Order MANUEL L. REAL

[Prelim. & Permanent Injunction shall be heard on 11/15/91 at 1:00 p.m.
Hawaii time, 3:00 pm Calif. time by phone conf. unless parties intend to
call live witnesses, in which case, hering will be held in Judge Real's

ORDER Denying Defendants’ Motion for Summary Judgment MANUEL L. REAL

ORDER Granting Plaintiffs’ Motion for Civil Contempt MANUEL L. REAL

Minutes from Central Dist of Ca - re hrng of 11/6/91 - In chambers - Pltffs'
Motion for Temporary Restraining Order and Preliminary Injunction.

Court holds telephone conf.; hears oral argument. Court grants temporary
restraining order and sets the hrng on the preliminary injunction for
11/15/91 at 3:06 p.m. (L.A. time) by phone or if counsel is not able to
arrange phone conference the hrng shali he at 1:30 p.m., U.S.D.C.,

Central Dist of California, Courtroom No. 8. Court orders counsel to

Note: Court shall hear the preliminary injunction and the permanent
injunction at the same time. (Lois Anderson/Central Dist of Ca.) MANUEL L. RI

154 . Plainciffs' Supplemental Memorandum of Law in Support of Motion for an Injunction

Declaration of Dr. Belinda Aquino; Declaration of Sherry P. Broder;

Moticn to Dismiss, Without Prejudice, on the Ground of Forum
Non Conveniens - on behalf of deft ~ All Cases ~ referred to Judge Real

DATE NR.
1991
Nov 7 148
L.A. cc: ail parties
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|
Civ 86-390 and 86-333 - referred to Judge Real
12 150
court] - All Cases ~ re hrng of 11/6/91
151
All Cases (re arng of 10/7/91)
152
All Cases ~- re hrne of 10/7/91
(153 EP:
prepare the order.
13
Exhibits A - M - All Cases
20 155
LS6 érie

in Support of Motion to Dismiss, Without Prejudice, on the Ground of

F
Forum Non Conveniens - on behalf of deft - All Cases - referred to Judge Real

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CIVIL DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND &. MARCOS HUMAN RIGHTS LITIGATION : 15
PAGE OF uu. PAGES
DATE NR PROCEEDINGS
1991
Nov 20 157 ORDER Granting Plaintiffs’ Motion for Preliminary Injunction MANUEL L. REAL
[Deft and its representatives enjoined from dissipating assets]
22 158 EP: Minutes from Central Dist of Ca ~- re hrng of 11/15/91 - re Order to Show
Cause re preliminary and permanent injunction. Court and counsel confer.
Court grants the permanent injunction; no bond. Mr. Swift is to prepare the
order. (Lois Anderson/Central Dist of Ca) MANUEL L. REAL
(see above order)
25 158a NOTICE OF APPRAL and Certificate of Service (On behalf of defendant)
26 159 | Certificate of Service Re: Order Granting Plaintiffs' Motion for Temporary
Restraining Order - on behalf of pitffs All Cases
160 Certificate of Service Re: Order Granting Plaintiffs’ Motion for Preliminary
Injunction ~ on behalf of pltffs All Cases
27 lel | NOTICE - phone conf re Deft's M/Dismiss without prejudice on the ground of forum
non conveniens; conference re cut-off dates for trial set for 12/20/91 at
3:00 pm California time. Mr. Lex Smith to set up the call.
ec: all parties
Dec 2 162 Memorandum of Points and Authorities in Opposition to Defendant's Motion te
Dismiss on the Ground of Forum Non Conveniens - on behalf of Sison/Picpongd
Pitffs - Civ 86-225; 87-138
163 Plaintiffs' Memorandum in Opposition to Motion to Dismiss, Without Prejudice,
on the Ground of Forum Non Conveniens; Exhibit A-- All Cases
6 Notice of Appeal sent to Clerk, 9th CCA & to all counsel
10 164 | AMENDED NOTICE OF APPEAL and Certificate of Service (on behalf of defendant)
: (ca 92-15526)
165 Withdrawal of Motion to Dismiss, Without Prejudice, on the Ground of Forum
Non Conveniens Filed November 20, 1991; Certificate of Service -
All Cases ~ on behalf of deft
il Amended Notice of Appeal sent to Clerk, 9th CCA & to all counsel
{3.166 | SECOND AMENDED NOTICE OF APPEAL AND Certificate of Service (on behalf of defendane)
i : (GA 9215526) . . .
'167 | Plaintiff's Response to Ex Parte Motion for Reconsideration By Angeles and Arano,
ete. + ALL Cases
16 168 Declaration of Service of Preliminary Injunction Order on Credit Suisse Bank -
on behalf of plrff
i? 'Amended and Second Amended Notice of Appeal sent te Clerk, Sth CCA & to all counsa
ee next page

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CIVIL DOCKET CONTINUATION SHEET ™.

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IN RE ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION i 16
: | PAGE | OF____ PAGES
DATE NR PROCEEDINGS
1991
Dec 18 169 Certificate of Service Re Declaration of Service of Preliminary Injunction

Order on Credit Suisse Bank Filed December 16, 1991 - on behalf of pitff -
as to Civil 86-399

19 | EO: Per Brigette, law clerk, phone conf set for 12/20/91 will commence at

11:30 a.m. California time. Parties notified. MANUEL L. REAL
20 i 170 inctice of Oepasitiana of Plaintiffs Jose Maria Sison and Juliette Sison - om behal? of Siaon

: ; Plainciffs - Civil 66-225 - Juliette Sisean depo - 1/16/92 et 9:30; Jose Maria Sison depo - PN Bae
24 171 °° Transcript Designation and Ordering Form - 11/6/91, 11/15/91 (Lois Anderson) - °

on behalf of deft

27 | 172 EP: Minutes from 12/20/91 hearing taken in Central District of CA -

(In chambers) phone conf -
1. Pro se Angeles & Arana Motion fer Reconsideration

2. Setting dates re Final PT Conf and motions

Court hears argument and denies the pro se motion for Angeles & Arana for
reconsideration.

Court sets the pretrial conf on 1/20/92 at 9:00 a.m.; a joint pretrial meme
is due 1/13/92; pretrial motions are to be filed on or before 1/6/92;
motions in limine are to be filed by 1/13/92 and set for hearing on
1/20/92. Video taped depositions are to be submitted to Judge Real by
1/20/92, with the proposed sections marked.

Court will set date for trial at the 1/20/92 hearing.

(Robert Cipolleni) MANUEL L. REAL
1993
Jan 2 173 Notice of Motion; Trajano Plaintiffs' Motion for Issuance of Letters Rogatory;
Exhibit A ~ 1/20/92 at 9:00 a.m. before Judge Real - Civil 86-207
6 174 Notice of Motion and Motion of rhe Society of Ex-Detainees for Liberation

” Against Detention and for Amnesty ("SELDA") to Intervene in Hilao v.
Marcos - 1/20/92 at 9:00 a.m. before Judge Real ~- on behalf of SELDA
Intervenors ~ Civ 86-390

175 Memorandum of Points and Authorities in Support of Motion of Society of
Ex-Detainees for Liberation Against Detention and for Amnesty ("SELDA") co
Intervene in Hilao v. Marcos; Declaration of Danilo Vizmanos <
on behalf of SELDA Intervenors ~ Civ 86-390

176 [Proposed] Complaint in Intervention - on behalf of SELDA Intervenors
Civ 86-390 -

l77 [Proposed] Order Granting Intervention - on behalf of SELDA Intervenors -
Civ 86-390
178 Notice of Motion; Plaintiffs Metion for Appointment of a Special Master (or

Masters); Memorandum in Support of Plaintiffs' Motion for Appointment of
a Special Master (or Masters) - 1/20/92 at 9:00 a.m. before Judge Real -

Civ 86-390

Case 1:03-cv-11111-DKW:KJM Document 1 Filed 01/01/03 =. Page 22 of 50 PagelD.330

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CIVEL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
MDL 8406

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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Tyr 179 iPicat; — aes
Jan 13. Certification of Bobert A. Swift Re: Service of Preliminary Injunction Order an Credit Suisse Bank

180-: Plaintiffs' Memorandum Sur SELDA'S Motion to Intervene - Civ 86-390
181 Plainctiffs' Joint Pretrial Statement; Exhibits A - G - Civ 86-390

15) 182 | Motion in Limine of Defendant to Exclude Testimony Pertaining to Nine Plaintiffs
All Cases

183 Motion in Limine to Exclude Video Bepositions - on behalf of deft - All Cases

184 | Motion in Limine of Defendant to Exclude Testimony of Plaintiffs’ Designated
Expert Witnesses - All Cases

184(a) EO: The above 3 motions in limine are set for 1/20/92 at 9:00 am. before Judge
Real ~ notified local defense counsel to submit Notice of Motion and to
telephonically let pltffs know these are calendared for 1/20/92

185 ; Defendant's Pretrial Memorandum - All Cases

186 | Certificate of Service Re: Certification of Robert A. Swift Re: Service of
Preliminary Injunction Order on Credit Suisse Bank and Bank of Hoffmann AG

on behalf of pltffs

187 Notice of Motions - on behalf of deft - deft's 3 motions in limine (#182,
183, 184) are set for hearing on 1/20/92 at 9:00 a.m. before Judge Real
All Cases

188 | Certificate of Service ~ om behalf of deft - All Cases
16 189 | Hilao Plaintiffe' Deposition Designations for Use at Trial - Cv 86-390

190 | Supplement to Motion in Limine of Defendant to Exleude Testimony Pertaining to
Nine Plaintiffs; Excerpts from Deposition of George Gaddi - on behalf of
deft - All Cases

17 191 | Defendant's Memorandum in Opposition to Plaintiffs' Motion for Appointment of
a Special Master (Or Masters); Certificate of Service ~ All Cases

192 | Defendant's Memorandum in Opposition of Motion of Society of Ex-Detainees for
Liberation Against Detention and for Amnesty ("SELDA'") to Intervene in
Hilao v. Marcos; Certificate of Service - All Cases

193. Plaintiffs’ Memorandum in Opposition to Defendant's Motions in Limine (1) to
Exclude Fact Witnesses and (2) to Exclude Use of Video Tape Depositions;

Exhibit A All Cases

194  Plaintiffs' Opposition to Defendant's Motion in Limine to Exclude Testimony of
Plaintiffs' Designated Expert Witnesses; Exhibit A - All Cases

see page 18

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IN RE ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION pace 1Bor__ paces
DATE NR PROCEEDINGS

1992
Jan 20 195 EP: Motion of Society of Ex-Detainees for Liberation Against Detention and for

Amnesty ("SELDA") to Intervene in Hilao vs, Marcos: Motion ig DENIED,
not timely; as to Amicus Curie, reserved.

Plaintiff's Motion for Appointment of a Special Master: matter is reserved.
P

Motion in Limine of Defendant to Exclude Testimony Pertaining to Nine
Plaintiffs: Overruled.

Defendant's Motion in Limine to Exclude Video Depositicons: Overruled.

Motion in Limine of Defendant to Exclude Testimony of Plaintiffs' Designated
Expert Witnesses: Denied, except to wealth problems.

Final Pretrial Conference: Defense have 11 witnesses; video tape depositions;
Ortega case has 25 witnesses. Entire trial to take 4 weeks to complete.
Defendants will take 27 depositions within 28 days.

Oral Motion to Continue Trial: Fact and Expert Witness Narratives to be
exchanged by 2/21/92, Objections filed by 2/28/92. Hearing: 3/2/92 at

9:00 a.m. Plaintiff will have 75 hours to put on case. Deft will have 25
hours to put on case. Court will keep track of time. Present trial

dates are vacated. No firm trial date is set now. Discovery cut off will be
given when trial date is set. Counsel will give each side 2? weeks notice fdr
depositions. Trial may be set in late March, April or May.
Plaintiff's Motion for Issuance of Letters Rogatory: GRANTED.

(TC) MANUEL L. REAL
196 ORDER; Letters Rogatory - on behalf of Plaintiff - Cv 86-207 MANUEL L. REAL

Ire depo of Imee Marcos~Manotoc!} CHINN

21 197 | Defendant's Supplement to Pretrial Memorandum ~ All Cases

Feb 5 Transcript of Proceedings ~ 1/20/92 - (TC) - Orig.

7 7 198 Notice of Motion; Plaintiffs' Motion in Limine; Memorandum of Law in Support of
Plaintiffs’ Motion in Limine - 3/2/92 at 9:00 a.m. before Judge Real
All Cases

199 Objection of Defendant Estate of Ferdinand Marcos to Plaintiff's Proposed Order
Regarding Defendant's Motion in Limine to Exclude Testimony of Plaintiffs'
Designated Expert Witnesses; Exhibit A; Certificate of Service - All Cases

10 200 - Notice of Motions (1) For a Motion in Limine and (2) For a Protective Order
~ on behalf of Sison/Piopongeo Plaintiffs - Civil 86-225 and 87-138 -
3/2/92 at 9:00 a.m. before Judge Real

201 Memorandum of Points and Authorities in Support of the Sison/Piopongce Plaintiffa'
Motion in Limine and Motion for a Protective Order - on behalf of
Sison/Piopongco Plaintiffs ~ Civil 86-225 and 87-138

202 Supplemental Memorandum of Points and Authorities in Support of Application of
Society of Ex-Detainees for Liberation Against Detention and for Amnesty
("SELDA"') for Amicus Curiae Status - Civil 86-390

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IN RE ESTATE OF MARCOS HUMAN RIGHTS LITIGATION MASTER ‘sace l9or PAGES
DATE NR PROCEEDINGS
1992
Feb 18 203, Notice to Take Depositions - on behalf of deft ~ All Cases
19 204 Defendant's Memorandum in Opposition to Sison/Piopongeo Plaintiffs' Motion in
Limine and Motion for Protective Order - All Cases
205 | Defendant's Memorandum in Opposition to Plaintiffs' Motion in Limine ~ All Cases
206 | Declaration of Service of Preliminary Injunction Order on Swiss Bank Corporation
on behalf of Plaintiffs - All Cases
207 Declaration of Service of Preliminary Injunction Order on Banque Paribas ~
on behalf of Plaintiffs ~ All Cases
208 Certification of Robert A. Swift Re: Service of Preliminary Injunction Order on
Swiss Bank Corporation and Banque Paribas; Exhibits A and B -
on behalf of Plaintiffs - All Cases
20 209 ORDER Denying Motion in Limine of Defendant to Exclude Testimony of Plaintiffs'
Designated Expert Witnesses - All Cases MANUEL L. REAL
(re hrng of 1/20/92)
210 ) ORDER Denying Defendant's Motion in Limine to Exclude Video Depositions - All Cages
(re hrng of 1/20/92) MANUEL L. REAL
21k ORDER Denying Motion in Limine of Defendant to Exclude Testimony Pertaining to
Nine Plaintiffs - All Cases -(re hrng of 1/20/92) MANUEL L. REAL
212 , ORDER Denying Motion of Society of Ex-Detainees for Liberation Against Detention
and for Amnesty ("SELDA") co Intervene in Hilao vs Marcos MANURL L. REAL
(re hrng of 1/20/92) All Cases
213 Pretrial Order No. 3: Case Management MANUEL L. REAL
{re hrng of 1/20/92) All Cases
; 214 Application of a Non-Resident Attorney to Appear and Participate in a Particular
i Case: ORDER MANUEL L. REAL
on behalf of deft - All Cases ~- William A. Johnson of Linn & Helms may
appear pro hac vice
21 215 | Plaintiff's Submission of Narrative Statements of Expert Witness; Exhibits A
through I - All Cases
24 216 Addendum to Plaintiff's Submission of Narrative Statements to Expert Witness
Filed February 21, 1992; Addendum to Exhibits B & C - All Cases
217 Reply Memorandum of Law in Support of Plaintiffs’ Motion in Limine
on behalf of Plaintiffs - All Cases
27 218 Reply Memorandum in Support of Sisan/Piopongco Plaintiffs Motion in Limine and
Motion for a Protective Order - on behalf of Sison/Piopongco Plaintiffs
Civil 86-225; 87-138
» 219 Plaintiffs First Amendment to Their Joint Pretrial Statemenr Filed January 13,
1992 - Civil 86-390
see page 20

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CIVIL DOCKET CONTINUATION SHEET

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IN RE ESTATE OF MARCOS HUMAN RIGHTS LITIGATION

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, Objection of Defendant Estate of Ferdinand

| Objection of Defendant Estate of Ferdinand

PROCEEDINGS

Defendant's Objections to Narrative Statements of Plaintiffs! Expert Witnesses

All Cases

Plaintiff's Motion in Limine: Motion for Protective Order: submitted.
Amicus Curiae Motion: Court will not rule at this time.

4s to narratives: Matter is submitted.

Defendants will not have experts, will have fact witnesses. Narratives
not filed by Johnson. Any depositions used for trial to be submitted
60 days before trial, marked in blue by Plaintiff, red by Defendant.
Video taped depositions proposed 60 days before trial with objections,
presented to opposing party 90 days before trial.

Trial date: 8/3/92 at 9:00 a.m.

Discovery completed by: 4/10/92

Trial less than 4 weeks; submit proposed instructions 45 days before trial.

One submission of instructions with objections and notes. Special interrog-

atories 45 days before trial.
Brief on historical nature: submit by 3/27/92; completed by 4/10/92.

Settlement does not appear to make headway now.
(YE)

EP:

MANUEL L. RRAL

Defendant's Amendment and Supplement to Pretrial Memorandum - All Cases

Amended Certificate of Service Re: Plaintiffs’ Submission of Narrative
Statements of Expert Witnesses Filed February 21, 1992 - on behalf of
Plaintiffs - All Cases

Marcos to Plaintiff's Proposed
Order Granting Plaintiffs' Motions in Limine - All Cases
Marcos to Plaintiff's Proposed

Pretrial Order No. 4 - All Cases

| Notice of Deposition - on behalf of deft - re Benjamin Muego ~ All Cases

' Notice of Deposition - om behalf of deft - re Dian Orentlicher - All Cases

: Notice of Deposition - on behalf of deft - re Michael Posner - All Cases

_ Notice of Deposition - on behalf of deft - re Steve Cohen ~ All Cases

Notice of Deposition - on behalf of deft - re Sister Marianni Dimaranan - All Cases ~
Notice of Deposition - on behalf of deft - re Rex Brown - All Cases y

i Notice of Deposition ~- on behalf of deft - re Emanuel Umati - All Cases

| Notice of Deposition - on behalf of deft - re Fluellen Ortigas - All Cases

| Notice of Deposition - on behaif of deft - re Susan Araneta - All Cases
Notice of Deposition - on behalf of deft - re Ramon Jalipa - All Cases

| Notice of Deposition - on behalf of defr - re Manuel Buncio - All Cases

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Mar 27 237 Notice of Deposition ~ on behalf of deft - re Apolinario Madayag, Sr., - All Caseg
238 | Notice of Deposition - on behalf of deft ~ re Alfonzo King ~ All Cases
239 Notice of Deposition - on behalf of deft - re Bon Fabic - All Cases
240 Notice of Deposition ~ on behalf of deft - re Ramon Castaneda - All Cases
24) Notice of Deposition - on behalf of deft ~- re Renato Torres ~ All Cases
242 Notice of Deposition - on behalf of deft - re Rebecca Clemente - All Cases
243 Notice of Deposition - on behalf of deft - re Ester Garcia - All Cases
244 Notice of Deposition - on behalf of deft - re Gerrold Garcia - All Cases
245 Defendant's Memorandum Regarding Application of Specific Hearsay Exceptions

to Narratives of Plaintiffs’ Expert Witnesses - All Cases
246 Plaintiffs’ Response to Defendant's Objections to Expert Narratives - All Cases
30 247 Plaintiffa’ Memorandum in Support of the Expert Testimony of Michael Posner -

Civil 86-225; 87-138

ORDER Re: SELDA'S Motion to Appear Amicus Curiae MANUEL L. REAL
All Gases - on behalf of pltffs [motion denied pursuant to hrng of 3/2/92]

ORDER Granting Plaintiffs’ Motions in Limine MANUEL L. REAL
All Cases - on behalf of Plaintiffs pursuant to hrng of 3/2/92

Pretrial Order No. 4: Case Management MANUEL L. REAL
All Cases - on behalf of deft pursuant to hrng of 3/2/92

Notice of Deposition - on behalf of deft - All Cases (re Amalia Sison)

Notice of Deposition - on behalf of deft - Ail Cases (re Elizabeth Piopongco)
Notice of Deposition - on behalf of deft - All Cases (re Jamie Piopongco)

Defendant's Designation of Deposition Excerpts for Trial ~ All Cases

Plaintiffs' Second Amendment to Their Joint Pretrial Statements; Exhibits A & B -
All Cases

Defendant's Counter~Designations of Deposition Excerpts ~- All Cases

Motion of Defendant to Dismiss Complaints Without Prejudice or in the Alternativd
for Stay of Proceedings and Supporting Memorandum - All Cases -

Defendant's Objection to and Metion to Strike Plaintiffs’ Second Amendment to
Pre-Trial Statements - All Cases

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egy" cranes beg nan sate eegee re se eure
May 26 259 | Defendant's Counter-Counter Designations of Deposition Excerpta - All Cases
260 Supplement to Defendant's Counter-Counter Designations of Deposition
Excerpts - All Cases
29 261 Defendant's Objections to Plaintiffs' Initial Deposition Designations - All Caseg
262 Defendant's Objections to Plaintiffs! Counter~Designations of Deposition
Excerpts - All Cases
263 Defendant's Objections to Counter-Counter Deposition Designations - All Cases
Jun 4 Deposition of Celsa Hilao ~ taken 5/21/91

Deposition of Macedonio S. Nonesa ~ taken on behalf of deft 3/10/92

Deposition of Ramon Veluz - taken 3/14/92

Deposition of George Gaddi - taken on behalf of deft 3/14/92

Deposition of Rogelio M. Abrencia - taken on behalf of deft 3/11/92

Deposition of Bienvenido Felix - taken on behalf of deft 3/12/92
Deposition of Eustaquio Purugganan ~ taken on behalf of deft 3/21/92

Deposition of Imelda Romauldez Marcos - taken on behalf of pleffs 4/4/91

Deposition of Ferdinand Romauldez Marcos ~ taken on behalf of pltffs 4/5/91

Deposition of Celsa Hilao ~ 5/22/91

Deposition of Lee A. Magno - taken on behalf of pltffs - 5/22/91

Deposition of Danilo Dela Fuente - 5/24/91

Deposition of Rodolfo G. Benosa - taken on behalf of pltffs - 5/23/91

Deposition of Renato Pineda ~ 5/24/91

Deposition of Paula Romero ~- taken on behalf of pltffs - 5/25/91

Deposition of Domiciano C. Amparo ~ taken 5/25/91

Deposition of Arturo P. Revilla - taken 5/28/91

Deposition (original) of Ramon Veluz, George Gaddi, Ester Albano Garcia,

Discovery Deposition of Rodolfo G. Benosa - taken 5/22/91
of Renato M. Pineda - taken on behalf of pltffs on 5/23/91

of Danilo Mallari Dela Fuente - taken on behalf of pltffs - 5/23/91
ef Domiciano Amparo - taken on 5/24/91
Deposition of Arturno Revilla, Jr. - taken on behalf of defts - 5/28/91

Deposition of witnesses George Gaddi, Ramon S. Veluz, Dr. Ester Albano-Carcia
and Dr. Jerrold Garcia - taken on behalf of defts 3/28/91

Deposition of Jose Maria Sison ~ taken on behalf of deft 1/15/92

Deposition of Julieta D. Sison - taken on behalf of deft 1/14/92

Continued Deposition of Arturo P. Revilla, Jr. - taken on behalf of deft 3/6/92
Continued Deposition of Redolfo G. Benosa ~ taken on behalf of deft 3/6/92
Continued Deposition of Domiciane C. Amparo - taken on behalf of deft 3/7/92

Deposition
Deposition
Deposition

Jerrold Garcia ~ taken on behalf of pitffs - 5/29/91
Deposition (copy) of Ramon Veluz, George Gaddi, Ester Albano Garcia, Jerrold
Garcia ~ taken on behalf of pltffs - 5/29/91

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1992
Jun 4 | Deposition of Charles B. Salmon - taken on behalf of pleffs - 6/4/91

Transcript of Proceedings in Re Petition for Issuance of Subpoena Ad
Testificandum and/or Duces Tecum - taken in court in Philippines 9/5/91

Deposition of Wyrlo P. Ver - taken on behalf of pltffs 10/3/91
Deposition of Rexor Ver - taken on behalf of plreffs - 10/4/91

Deposition - continuation - of Arturo €. Aruiza ~ taken on behalf of pitffs
11/25/91

Depesition of Rogelio M. Abrencia - taken on behalf of pltffs - 3/11/92
Continuation of the Videe-Tape Deposition of Plaintiff Rodolfo Benosa - 5/25/91

264 Defendant's Notice of Lodging Original Depasitions; Certificate of Service -
All Cases

265 | Defendant Estate of Ferdinand Mareos's Memorandum Regarding Defendant's
Objections to the Plaintiffs' Deposition Designations - All Cases

266 Plaintiffs’ Submission of Deposition Transcripts and Videotapes ~- All Cases

267 Plaintiffs' Memorandum in Support of Their Objection to Designated Deposition
Testimony; Exhibit A - All Cases

Jun § 268 Sison/Piopongeo Plaintiffs Objections to Defendant's Designations, Counter-
Designations and Counter Counter Designations of Deposition Testimony -

Civ 86-225, 87+138

269 Notice of Lodging Deposition Transcripts and Video Tapes - on behalf of Sison/
Piopongco Plaintiffs ~- Civ 86-225

270 Sison Plaintiffs Memorandum Re Objections to Deposition Testimony of Jose Maria
Sison and Julieta Sison ~- Civ 86-225

Deposition of Julieta Delima Sison - taken on behalf of Plaintiff -~ 1/16/92
Deposition of Jose Maria Sison « taken on behalf of Plaintiff - 1/16/92

10 271 | NOTICE - Deft's M/Dismiss Compits without Prejudice or in the Alternative for
Stay of Proceedings; BDeft's M/Strike Pitffs' Second Amendment to Pre-Trial
Statements; Pretrial - see for 6/29/92 at 9:00 a.m. before Judge Real

cc: all parties

17 272 | Stipulation and ORDER Re: Modification of Pretrial Order No. 4
fon behalf of deft - All Cases - re designating MANUEL L. REAL
and lodging depo excerpts, objections, transcripts]

18 273) Plaintiffs’ Notice of Lodging Original Depositions; Certificate of Service -
All Cases - on behalf of Ortigas/Clemente Plaintiffs (video tapes of depos)

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Plaintiffs’ Memorandum in Opposition to Defendants’ (1) Motion to Dismiss or
Stay (2) Motion to Strike Second Amended Pretrial Statement and
(3) Motion to Bifureate; Exhibits A - E - All Cases

Submission of Exhibit F (Re: Exhaustion Issue) to Plaintiffs! Memorandum in
Opposition to Defendants' (1) Motion to Dismiss or Stay (2) Motion to
Strike Second Amended Pretrial Statement and (3) Motion to Bifurcate Filed
June 18, 1992 - on behalf of Plaintiffs - All Cases

Additional Proposed Jury Instructions Submitted By Sison and Piopongco Plaintiffs);
Jury Interrogatories - CV 86-225 and 87-138

Plaintiffs’ Proposed Jury Instrucitons and Jury Interrogatories ~ All Cases

Response of Sison/Piopongco Plaintiffs to Defendant's Motions to (1) te Diamiss
Complaints Without Prejudice, or, In the alternative, for Stay of
Proceedings; and (2) to Strike Second Amendment to Pre-Trial Statements
CV 86-225 and 87-138

Defendant's Requested Jury Instructions ~ All Cases

Plaintiffs' Motion to Permit Limited Oral Direct Examination of Expert Witnesses
at Trial; Memorandum in Support of Plainriffs' Motion to Permit Limited

Oral Direct Examination of Expert Witnesses at Trial - Ali Cases
(will be heard on 6/29/92 at 5:06 an.

Joint Stipulation Re: Discovery Dispute - on behalf of deft - All Cases
(will be heard on 6/29/92 at 9:00 a.m.)

Defendant's Response to Plaintiffs! Motion to Permit Limited Oral Examination
of Experts at Trial; Cartificate of Service - All Cases

Reply Memorandum of Defendant in Support of Motion to Dismiss or Stay and to
Strike Plaintiffs' Second Amended Pretrial Statement; Certificate of Service

All Cases

EP; (1) Deft's M/Dismiss Complaints without Prejudice or in the Alternative for

Stay of Proceedings - DENIED

(2) M/Strike Pltff's Second Amendment to Pre-Trial Statements - GRANTED !

(3) Pltff's M/Permit Limited Oral Direct Examination of Expert Witnesses
at Trial - DENTED
Trial set for 8/3/92 has been contd to 9/1/92 at 9:00 a.m. before
Judge Manuel L. Real.
Please note: Depositions returned to attorneys and the video depositions
will be retained by the court.
(ESR/KKO) MANUEL L. REAL

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Jol 10 285 Plaintiffs’ Memorandum in Opposition to Defendant's Motion for Continuance of
: Trial Date and to Reopen Discovery - All Cases (see #286 below)
13 286 Defendant's Application for Continuance of Trial Date and to Reopen Discovery -
All Cases
287 Defendant's Third Amended Pretrial Memorandum - All Cases
“0 288 Reply Memorandum of Defendant in Support of Motion for Continuance of Trial Date
and to Reopen Discovery - All Cases
27 289 EP: Deft's M/Continue Trial Date ~ DENIED. Jury Selection and Jury Trial will
take place on 9/9/92 at 9:00 a.m. before Judge Real.
(ESR/LG) MANUEL L. REAL
36 290 ORDER Denying Defendant's Motion to Dismiss Complaints Without Prejudice or in
the Alternative for Stay of Proceedings - MANUEL L. REAL
All Cases - on behalf of Plaintiffs (re hrng of 6/29/92)
31 291 Pretrial ORDER No. 5: Case Management MANUEL L. REAL
All Caseg - on behalf of plitffs {re hrng of 6/29/92)
292 | ORDER Denying Defendant's Motion to Strike Second Amended Pretrial Statements
Allcases - on behalf of Plaintifés MANUEL L. REAL (re hrng of 6/29/92)
Aug 4 293 ORDER Denying Defendant's Application for Continuance of Trial Date and to
Reopen Discovery ~ All Cases - on behalf of pitffs MANUEL L. REAL
h £ 6/29/92
* 293a; see sefonTrs of 6/29/92)
5 294 | Plaintiffs' and Defendant's Joint Submission of Proposed Juror Questionnaire;
Exhibits A&B. ~- All Cases
295 Defendant's Requested Written Questionnaire for Potential Jurors, or, Altern-
atively, Requested Oral Voir Dire; Request for Follow-Up Examination;
Request for Examination of Potential Jurors Outside Hearing of Each Other
Potential Juror - All Cases
18 296 Third Amendment to Plaintiffs! Joint Pretrial Statement - All Cases
Rh 293a | Pretrial ORDER No. 5: Case Management MANUEL L. REAL
All Cases ~ on behalf of Plaintiffs - re hrng of 6/29/92
Sep 1 297 Application to Resubmit Video Deposition of George Gaddi Dated March 14, 1992
All Cases - on behalf of defer
Deposition Transcript (Video) of George Gaddi - 3/14/92 - on behalf of deft

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Case:4:03-cv-11111-DKW-KJM Document1 _ Filed 01/01/03'.". Page 31 of 50 PagelD.339
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1992 :
Sep 4 298 Supplemental Brief of Defendant Estate of Ferdinand —. Marcos in Support of

Motions in Limine Previously Filed ~ All Cases

299 Defendant's Supplemental Jury Instructions and Jury Interrogatories ~- All Cases

300 | Agreed-Upon Proposed Jury Instructions + All Cases - (Pltffs & Deft)

301 . Plaintiffs’ Joint (1) Preposed Supplemental Jury Inseruetions and Jury
Interregatories, and (II) Objections to Defendant's Proposed (A) Supplementa

Jury Instructions, and (8) Jury Interrogatories; Exhibit A thru C -
All Cases-on behaif of Plaintiffs

pond

9 :302 EP: JURY TRIAL - lst Day < .
Pitffs' opening statements by Swift, Hoffman and Scarlett. Deft's opening

statement by Johnson. Jury selected and sworn. Pltffs' witnesses Jose
Duran, Josefina Forcatilla, Trinidad Herrera Repuno CST. Video depositions
of Selsa Hilao and Lee Magno heard. Plitffs* exhibits admitted: 8,9,2,3,1,

5,4,115,60,74,75.
(Lisa Groulx) MANUEL L. REAL

303 Defendant's Objections to Plaintiffs' Exhibits - All Cases

10 (304 . EP: JURY TRIAL - 2nd Day -
Jurors present. Pltff's witnesses - Joquin Bernas, CST; Sister Mariani,

Expert, CST; Danilo Vismanos, CST; Renato Pineda - Deposition by video
i played in open court; Hilda Narciso, CST & Paula Romero - Deposition by
video played in open court.

Pitffs' Exhibits 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 98, 46, 7,
105, 106, 107, 108, 104, 95, 96, 97, 6 ~ admitted.

Further jury trial coned to 9/11/92 at 8:30 a.m.

(Liga Groulx) MANUEL L. REAL
il _ 305 EQ: Further Jury Trial ~ Court was not held on this day due to the Hurricane
Iniki Watch. MANUEL L. REAL
14 $306 > EP: JURY TRIAL - 3rd Day -

7" Jurors present. Pltffs' witnesses: Adora DeVera, CST; Domiciano Amparo -
Deposition by video played in open; Arturo Aruiza ~ excerpts of deposition
read into the record; Guillermo Ponce de Leon, CST; Rodolfo Benosa ~-
deposition by video played in open court; Lisandro Abadia - excerpts of
deposition read into the record & Danilo de la Fuente - deposition by
video played in open court.

Pleffs' Exhibits 16, 17, 126, 127, 128, 120, 122, 123, 14 & 102- admitted.

Further jury trial contd to 9/15/92 ar 8:30 a.m.
(Lisa Groulx) MANUEL L. REAL

306(a) Stipulation and ORDER MANUEL L. REAL
| €re objections to testimony of pltffs' expert witnesses)
on behalf of deft - re CV 86-390, 86-225, 87-138, 90-676, 90-671

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Page 32 of 50 PagelD.340

CIviL DOCKET CONTINUATION SHEET

PLAINTIFF DEFENDANT i
DOCKET no, MDL 840
IN RE ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION i
'pace _2/or___ paces
DATE NR. | PROCEEDINGS
1992
Sep 15 307 EP: JURY TRIAL - 4th Day -
Jurors present. Pitffs' witnesses: Rexor Ver, CST; Michael Posner, Expert,
CST; Jose Maria Sison - Deposition by video played in open court; Amalia
Sison, CST; Eugene Chae, CST; Elizabeth Piopongeo, CST; Jaime Plopongeo,
CST, Pleffs' Exhibits 57, 58, 59, 61, 73, 76 thru 86, 88 thru 94, 99, 100,
103, 109 thru 114; 116 thru 119; 37 & 209 admirred.
Further jury trial contd to 9/16/92 at 8:36 a.m.
(Lisa Groulx) MANUEL L. REAL
16 308 EP: JURY TRIAL - Sth Day -
Jurors present. Pitffs' witnesses: Benjamin Muego, CST; Gerardo $occo, Jr.,
CST; Dr. Ester Garcia, CST; Jose E. Asuncion, CST; Crispin Aranda, CST;
Jerrold Garcia, CST; Emmanuel Umali, CST; Fluellen Ortigas, CST; Susan
Araneta, CST; Ramon Velus ~ Deposition by video palyed in open court &
Alfonso King, CST. Pleffs' Exhibits 30, 31, 312, 313, 314, 318, 326,
325, 323, 324, 329, 349, 346, 356, 332, 333 & 344 - admitted.
| Further jury trial contd to 9/17/92 at 8:30 a.m.
(Lisa Groulx) MANUEL L. REAL
309 | Objections of Defendant to Proposed Additional Jury Instructions of Sison/
Piopongeo Plaintiffs - All Cases
(310 Response of Defendant to Plaintiff's Objections to Defendant's Proposed Jury
Instrucrions and Jury Interrogatories and Defendane's Objections to
Plaintiff's Proposed Supplemental Jury Instructions and Supplemental
Interrogatories ~ All Cases
1? 3EL EP: JURY TRIAL - 6th day -
Jurors present. Pltffs' witnesses: Stephen Cohen, Expert, CST; Ramon
Jalipa, CST; Don Fabic, CST; Renato Torres, CST: George Gaddi - Depasitian
by video played in open court; Diane Orenlichrer, CST.
Pitffs' Exhibits 48, 49, 50, 51, 52, 53, 54, 395 & 40 admitted.
Further jury trial contd to 9/18/92 ar 8:30 a.m.
{Lisa Groulx) MANUEL L. REAL
18 312 EP: JURY TRIAL - 7th Day -

Jurors present. Pirffs' Witnesses: Diane Orelichter - Expert resumed the
witness stand, Ramon Castaneda, CST; Rex Brown, CST; Apolinario Madayag,
CST; Vicente Clement, CST; Marcelino DeLeon, CST; Manuel Buncio, CST;
Bonifacio Gillego, CST; Dr. Sylvia De La Paz, Expert, CST.

Pltffs' Exhibits 307, 308, 309, 363, 377, 378, 385, 359, 360, 361, 34, 32,

33, 55 & S6 admitted.
Pltffs' Oral M/Quash Subpoena or in the Alternative Offer of Proof as to

Witness Diane Orenlichter - GRANTED.

Deft's Oral M/Strike Witness Mr. Cohen's Testimony - DENIED.

Deft‘'s Oral M/Strike Witness/Expert Diane Orenlichter Testimony ~ DENIED.
Deft's Renewed Oral M/Strike Mr. Cohen's Testimony - DENIED.

Further trial contd to 9/21/92 at 8:30 a.m.
{Lisa Groulx) MANUEL L. REAL

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CIVIL DOCKET CONTINUATION SHEET

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IN RE ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION 28
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EP: JURY TREAL - 8th Day -
Jurors present. Pitffs' Witnesses: Dr. Sylvia De La Paz ~ resumed witness

stand; Stephen Bosworth, CST. Pltffs rested. Deft's M/Mistrial as to
Witness Bosworth - DENIED. Deft's Oral Motion for a Judgment as a Matter of
Law in Actions Tried by Jury - DENIED. Deft rested. Jurors were dismissed
for the day - to return on 9/22/92. Conference regarding jury instructions.
Further jury trial contd to 9/22/92 at 9:00 a.m.

(Lisa Groulx) MANUEL L. REAL

Response to Objections of Defendant to Proposed Additional Jury Instructions

of Sison/Piopongeo Plaintiffs - on behalf of Sison/Piopongeo Pltffs -
CV 86-0225, 87-0138

Defendant's Second Supplemental Requested Jury Instructions - All Cases
Defendant's Consolidated Requested Jury Instructions - Ali Cases

EP: JURY TRIAL - 9th Day -
Jurors present. Closing arguments on behalf of the Plaintiffs and Defendant.

Court instructs the jurors. Jury starts deliberation at 2:25 p. m.

Note from the jury - 4:45 p.m. Court addressed this note with all counsel
present. Jury dismissed for the day to return 9/23/92 at 9:00 a.m.

(Lisa Groulx) MANUEL L. REAL

’ Proposed Curative Jury Instruction - on behalf of Sison/Piopongco Plaintiffs -

All Cases

Memorandum in Support of Plainciffs' Amended Proposed Jury Instructions on
Separate International Law Claims - on behalf of Sison/Piopongeo Plainciffs

CV 86-0225, 87-0138, , 90-670, 90-671

“Note from the Jury
'“Nete from the Jury

EP: JURY TRIAL - FURTHER JURY DELIBERATION - 10th Day

Jurors continue deliberation. Note from the Jury - 11:50 a.m. Court

addressed this note with all counsel present. Jury dismissed for the day
to return 9/24/92 at 9:00 a.m.

(ESR/LG) MANUEL L. REAL

Note from the Jury
EP: JURY TRIAL - FURTHER JURY DELIBERATION - llth Day -

Jurors continue deliberation. Note from the Jury at 11:25 a.m. Court

addressed thisnote with all counsel present. Note from the Jury at 3:00 p.m.
Verdict has been reached. Verdict was read in open court. Verdict was

filed in open court. Court dismissed the jurors.

(ESR/LG) MANUEL L. REAL

Note from the Jury
Nore from the Jury

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CIVIL DOCKET CONTINUATION SHEET
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PLAINTIFF i
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | SOCKET NO OL B40
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DATE © NR: PROCEESINGS

1992 :
Sep 24 327 VERDICT ~ Re CV 86-0225 and CV 87-0138
: The jury finds for the Plaintiffs Jose Maria Sison, Francisco Sison

(by Plaintiffs Florentina, Ramon and Amalia Sison), Jaime $. Piopongco
and against the Defendant

328 . VERDICT ~ Re Class Action - CV 86-0390 and CV 86-0333
The jury finds for the class and against the defendant

329 VERDICT - Re CV 90-0670 and CV 90-0671
The jury finds for the Plaintiffs Fluellen Ortigas, Ramon Veluz, Alfonso

King, George Gaddi, Ramon Mappala, Emmanuel Umali, Ester Albano-Garcia,
Jerrold Garcia, Crispin Aranda, Marcellino de Leon, Ramon Castaneda,
Geraldo Socco, Manuel Buncio, Vicente Clemente, Jose E. Asuncion,

Susan Araneta, Rex T. Brown, Don Fabic, Alex Torres (by Plaintiff Eugenia
Torres) and against the Defendant.

The jury finds for the Defendant and against the Plaintiff Wilson Madayag

(by Plaintiff Apolinario Madayag, Sr.).

30 330 Jury Instructions
Oct 1 | 331 : Notice of Motion; Motion to Modify the Preliminary Order and for Other Relief;

: Exhibits A thru D - on behalf of Plaintiffs - All Cases ~ referred to
Judge Real

2 332 | Motion of Defendant, Estate of Ferdinand E. Marcos, for Judgment Notwithstanding
: the Verdict on the Issue of Liability or, in the Alternative, for a New
: Trial on the Issue of Liability and Supporting Memorandum; Certificate of

Service - All Cases - referred to Judge Real
5 333 JUDGMENT in a Civil Case - CHINN

(Re Cv 86-0225 and 87-0138)

Judgment is hereby entered in favor of plaintiffs Jose Maria Sison,
Francisco Sison (by plaintiffs Florentina, Ramon and Amalia Sison),
and Jaime $. Piopongco and against the defendant.

ec: all parties

| 334 , JUDGMENT in a Civil Case - CHINN
(Re CV 86-0390 and 86-0333)
Judgment is hereby entered in favor of the class and againat the defendant.

cc: all parties

335 JUDGMENT in a Civil Case - CHENN
{Re CV 90-0670 and 90-0671)
Judgment is entered in favor of plaintiffs Fluellen Ortigas, Ramon Veluz,

Alfonso King, George Gaddi, Ramon Mappala, Emmanuel Umali, Ester Albano-
| Garcia, Jerrold Garcia, Crispin Aranda, Marcelino de Leon, Ramon Castaneda,
Geraldo Socco, Manuel Buncio, Vicente Clemente, Jose E. Asuncion, Susan
i Araneta, Rex T. Brown, Don Fabic and Alex Torres (by plaintiff Eugenia Torrd
| and against the defendant. Judgment is entered in favor of defendant and
against pltff Wilson Madayag (by pltff£ Apolinario Madayag, Sr.) ce: all part

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| Notice of Filing Original Declaration of Sidney Jones - on behalf of ACLU

PLAINTIFF |
/ pocket no MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION : 30 -_—
: PAGE “SOF PAGES
DATE NR PROCEEDINGS
1992 |
Oct 13 336 Response of Defendant to Plaintiffs’ Motien to Modify Preliminary Order ~
All Cases
337 Motion for Approval of Class Notice; Exhibits A - C ~ on behalf of Plaintiffs
: in the Class Action ~ CV 86-0390
16 =» 338 Plaintiffs' Memorandum of Law in Opposition to Defendant's Motion for Judgment
Notwithstanding the Verdict or for a New Trial on the Issue of Liability -
All Cases
19 339 Response of Defendant to Class Plaintiffs' Proposed Class Notice and Proof of
i Claim Forms - All Cases
340 The Sison/Piopongee Plaintiffs' Opposition to Defendant's Motion for Judgment
Notwithstanding the Verdict or for a New Trial on the Issue of Liability -
CV 86-225 & 87-138
Transcript of Proceedings ~ 1:/8/972 - [Lois Angersan} +
Transcript of Proceedings ~ Fi/!8/91 - iLois Aadersan) -
20 341 JUDGMENT on Liability MANUEL L. REAL

CV 86-390 ~ Court enters judgment in favor of pltffs and the class and
against deft as to liability only in accordance with the unanimous verdict
of the jury on 9/24/92. It is ordered that costs are awarded to the pitfifs
pursuant to FRCP 54(d), provided any btll of costs shall be served and
filed on or before 10/23/92 - on behalf of Plaintiffs

Plaintiffs! Submission of Statement of Recent Authorities; Exhibit A;
Certificate of Service Attached - All Cases (Lexis Citations)

Plaintiffs’ Reply Memorandum in Support of Motion for Approval of Class Notice;
Certificate of Service - on behalf of Plaintiffs in the Class -

re: CV 86-396

Memorandum of Points and Authorities of ACLU Foundation of Southern California
and Human Rights Watch Re Motion for Approval of Class Notice; Declarations

of Sidney Jones and Paul L. Hoffman - re: CV 86-390

‘Memorandum of ACLU Foundation of Southern California and Human Rights Watch

in Response to Class Counsel's Memorandum Filed October 22, 1992 -
re: CV 86-390

Foundation of Southern California and Human Rights Watch - re: CV 86-390

Plaintiffs’ Submission of Proposed Revised Order Re Class Notice ~ re: CV 86-3590

Motion for Relief; Affidavie of Sherry P. Broder; Exhibit A; Certificate of
Service + on behalf of Liaison and Lead Counsel for Plaintiffs - All Cases
(requesting permission for Bill of Costs for Hilao Picffs to be filed

by 11/16/92)

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

Tn Re: Estate of Ferdinand E. Marcos Human Righes Litigation

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1992
Oct 30 ©349 NOTICE ~ post, trial motions to.be heard 11/16/92 at 10:00 in courtroom #8

in Log Angeles U.3.D.C. before Judge Real. Counsel also to be ready
to discuss all issues re damages at this hearing.
cc: all counsel

Joinder in Motion for Relief - re CV 86-225, 87-138 ~ on behalf of Sison/Piopongd
Plaintiffs (re submission of Bill af Costs)

BILL OF COSTS ~ on behalf of pleff ~ re CV 86-0390 - costs taxed in amount of
$53,387.08 on 11/17/92 CHINN/AKANA

Plaintiffs' Supplemental Motion to Modify the Preliminary Injunction Order;
Exhibits A and B - All Cases

Memorandum of Defendant Regarding Certain issues Pertaining to Damages - All Cas

Supplemental Memorandum of Defendant in Support of Motion for Judgment
Notwithstanding the Verdict - All Cases
Plaintiffs’ Supplemental Memorandum Regarding the Damage Phase ~ All Cases

Amended Certificate of Service Re: Bill of Costs File Dated November 16, 1992
on behalf of Plaintiffs - re CV 86-390

EP: Post Trial Motions; Hearing Re Issues of Damages - The Court DENIES the
deft's motion for judgment notwithstanding the verdict or for new trial.

Pitff to prepare and submit proposed order.

The Court GRANTS Plaintiffs’ motion for modification of the Preliminary
Injunction Order and signs the submitted proposed order.

The Court DENIES SELDA et 41's motion to intervene.

The Court authorizes plaintiff lead counsel to respond to any questions
from possible additions to class plaintiffs.

The Court hears argument re damages. The Court ORDERS that notice be sent
to class members on opt-in basis as to damage phase of trial, to be sub-
mitted in proposed form, and any objections thereto, for the Court's
attention by 12/15/92, with hearing on this proposed form of notice, as
well as a further hearing re damages, to be held in U.S.D.C. in Hawaii

on 1/11/93 at 10;00 a.m.

The Court further ORDERS that all Bill of Costs matters are to go forward
in Hawaii in accordance with the rules and procedures of that Court.

(Hearing held in Central Dist of CA at los Angeles on 11/16/92)
(John Turman, Court Reporter/Los Angeles) MANUEL L. REAL

{see page 32)

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF GEFENCANT MDL B40
| DOCKET NO.
In Re: Estate of Ferdinand E. Marcog Human Rights Litigation i PAGE 32 PAGES
: ! OF
DATE -ONR. | PROCEEDINGS
1992 — ~~ ——
Nov 20 358 : ORDER Granting Plaintiffs' Metion to Modify the Preliminary Order and for
Other Relief ~ on behaif of pittts - All Cases MANUEL L. REAL
: (Filed in Les Angeles 11/16/92)
359 ° ORDER Shortening Time for Hearing on Motion to Intervene MANUEL L. REAL
(on behalf of proposed intervenors, SELDA, et al}
(to be heard on 11/16/92 at 10:00 a.m.} + Re: CV 86-390
: (Filed in Los Angeles 11/16/92)
24 360 ORDER [Motion of SELDA for limited intervention, heard 11/16/92, denied] MANUEL
ce: ali parties “SEAT
25 361 Certificate of Record ~ (C.A. No. 91-15891) - Re Dise of HI CV 86-207
Dec 8 . 362 Motion for Approval of Class Notice; Exhibits A - B - on behalf of pltffs in
the Class Actian ~ CV 86-390
g : 363 Petition for the Transfer of Rights and Administration of Assets, Monies, and
Properties of the Deposed Philippine President Ferdinand E. Marcos -
on behalf of Dr. Maximo B. Gamido, Presidential Regional Assistance
Monitoring Service
14 364 | Memorandum of Defendant in Reply to Plainciffs' Submission Regarding Trial of
: the Damage Phase ~ All Cases
| 3965 | Memorandum of Defendant Regarding Status of Impaneled Jury and Trial of
Bamages - All Cases
366 Declaration of Danilo P. Vizmanos ~ on behalf of SELDA - CV 86-390
i5 ' 367 Plaintiffs’ Memorandum in Suppert of Bifurcating Trial of Compensatory and
Exemplary Damages Before Separate Juries - All Cases
| 368 : Suggestion By Philippine Human Rights Organizations for Addition to Proposed
Class Notice ~ on behalf of SELDA - CV 86-396
369 Declaration of Danile P. Vizmanos - on behalf of SELDA - CV 86-390
(copy)
1? : 370 , Pretrial Order No. 6: Case Management - All Cases ~ on behalf of pleffs
(pursuant to hrng of 11/16/92) MANUEL L. REAL
- 371. ORDER Granting Plaintiffs’ Motion for Relief - on behalf of pitffs - CV 86-390
: (pursuant to hrng of 11/16/92) MANUEL, L.. REAL,
i 372 ORDER Denying Defendant's Motion for Judgment Notwithstanding the Verdict on
the Issue of Liability or, in the alternative, for a New Trial on the
Issue of Liability and Supporting Memorandum - All Cases - on behalf of
Plaintiffs MANUEL L. REAL
23 373 Separate Memorandum of Points and Authorities of Sison/Piopongco Plaintiffs Re
Damages Phase and Issue of the Empaneled Jury ~- re CV 86-225, 87-138
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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF OEFENDANT ; MDL 840
IN RE ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | DOCKET NO. nea
| pace “Yor races
DATE NR. | PROCEEDINGS
1993
Jan 15 374 | EO: Further Hearing re Damages Hearing re Proposed Form of Class Notice and
Other Miscellaneous Matters will be set for Monday, 2/8/93 at 9:00 a.m.
before Judge Manual Real. MANUEL L. REAL
cc: all parties
29 | 375 , Declaration of Service of Order Granting Plaintiffs’ Motion to Modify the Preli:
Order and for Other Relief on Banque Faribas - All cases
376 Declaration of Service of Order Granting Plaintiffs' Motion to Modify the Preli:
Order and for Other Relief on Credit Suisse Bank - All Cases
377 Declaration of Service of Order Granting Plaintiffs' Motion to Modify the Preli:
Order and for Other Relief on Swiss Bank Corp. - All Cases
Feb 1 378 JUDGMENT - 9th CCA ~- AFFIRMED ~ cc: all counsel ~ Civ. 86-207
2 379 Plaintiffs' Request for in Camera Status Conference - Civ. 86-390
8 380 . ORDER; Letters Rogatory - re Trajano Plaintiffs’ Motion for Reissuance of Lette
Rogatory - On Behalf of Plaintiffs - Civ. 86-207 MANUEL L. REAL
381 ORDER; Letters Rogatory - re Trajano Plaintiffs' Motion for Reissuance of Lette
Rogatory ~ On Behalf of Plaintiffs -~ Civ. 86-207 MANUEL L. REAL
382 Notice of Deposition - On Behalf of Plaintiffs - All Cases
383 | EP: Further Hearing Regarding Damages & Hearing re proposed Form of Class
Notice - discussion was held regarding the form of class notice that will
be sent out to class members. Discussion regarding setting a further tria!
date regarding exemplary damages. Judge Real will notify the parties regar
the date of this trial
(ESR-MM) All Cases MANUEL L. REAL
10 384 Proposed Order re Class Notice; Exhibits A thre C -
On Behalf of Plaintiffs - Civ. 86-390 —
385 Proposed Pre Trial Order No. 7: Case Management = All Cases
386 | Proposed Order Denying Gamido Petition for Transfer of Rights and for the
Administration of Marcos’ Assets and Properties, Local and Foreign -
On Behalf of Plaintiffs - All Cases
3 379(ap Objection to Plaintiffs! Request for in Camera Status Conference;
Certificate of Service ~ on behalf of deft - All Cases
16 387 | Notice one ~ on behalf of deft ~ All Cases - re Caesar 0.V. Parlade
on
22) 388: Notice of Change of Address of Attorney ~ as to Randall Scarlett -
On Behalf of Plaintiffs - All Cases
Mar L 389 ORDER Re Class Notice; Exhibits 4 thru C - On Behalf of Plaintiff -
Civ. 86-390 REAL
390 | ORDER Denying Gamido Petition for Transfer of Rights and for the Administration
of Marcos' Assets and Properties, Local and Foreign - On Behalf of Plaintii
All Cases REAL
391 Pre Trial ORDER No. 7: Case Management ~trial of exemplary damages is bifurcate
for trial before the jury currently empaneled. Trial of exemplary damages
in all cases shall be in June 1993 + On Behalf of Plaintiff - All Cases
REAL
3 RECEIVED from 9th CCA - 3 vol. clerk's file, 1 vol. reporter's transcript
Cv 86-207
See Page 34

ase 1:03-cv-11111- DKW- KIM Document 1 Filed 01/01/03" Page 39 of 50 PagelD.347
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CIVEL ROCKET CONTINUATION SHEET
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INREESTATE OF. FERDINAND. MARCOS HUMAN RIGHTS LITIGATION i

DATE NR. PROCEEDINGS
1993
Mar 31 | 392 Report on Distribution of Class Notice; Exhibits A - C: Certificate of Service

| attached - Civ. No. 86-0390

Apr I Original Record mailed Federal Express to 9th CCA - {CA 92-15526)
' 393 | Plaintiffs’ Motion for Sanctions; Memorandum of Law In Support of Plaintiffs'
Motion for Sanctions; Exhibits A thru I; Certificate of Service
| Transcript of Proceedings - Orig - 2/8/93 ~ VARS
8 | 394 | Plaintiffs' Third Motion for Issuance of Letters Rogatory; Exhibits A thru G;
: i Certificate of Service
12. 395 | Defendant's Response in Opposition to Class Plaintiffs' Motion for Santions
14 396 | Plaintiffs' Reply in further support of their motion for sanctions; Exhibits

: : J thru O; Certificate of Service

22 397 ORDER: Letters Rogatory REAL

i
May L7 (398 Stipulation and Grder Re Plaintiff Ramon Jalipa ~ for purposes of proceeding
with alll further matters with respect to Mr. Jalipa’s claims against the
Estate of Ferdinand —E. Marcos, that he be opted-out of said class action.
on behalf of Ramon Jalipa - Cv 90-671 REAL

399 [Substitution of Attorneys - re: Susan Araneta - Melvin M. Belli in place and stead
of Belli, Belli, Brown, Monzione, Fabbro & Zakaria - Cv 90-671 i
400 Substitution of Attorneys - re: Jose E. Asuncion ~ substitutes the Law Offices of.
Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbro |
& @akaria ~ Cv 90-671

(401 [Substitution of Attorneys - Re: Ramon Jalipa - Substitutes the Law Offices of Melv:
M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbro &
Zakaria - Cv 90-671

402 Substitution of Attorneys - re: Rex T. Brown ~- substitutes the Law Offices of
Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbro
& Zakaria ~ Cv 90-671

403 Substitution of Attorneys - Re: Ramon E. Castaneda - Substitutes the Law Offices
of Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbre

| . & gakaria ~+ Cy 90-670

404 Substitution of Attorneys ~ re: Vicente Clemente - substitutes the Law Offices of
Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbro

i & Zakaria - Cv 90-671

405 Substitution of Attorneys ~ re: Alfonso King - substitutes the Law Offices of

Melvin M, Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbro

: & Zakaria ~- Cv 90-676

406 Substitution of Attorneys - re: Fluellen M. Ortigas - substitutes the Law Offices

of Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabby

& Zakaria ~ €v 90-670

See page 35

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CIVIL DOCKET CONTINUATION SHEET

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PAGE 33 of PAGE

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

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| Substitution of Attorneys ~ re: Crispin Aranda ~ Substitutes the Law Offices of
! Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbr

| Zakaria —- Cv 90-670

i Substitution of Attorneys ~ re: Ramon P. Mappala ~ Substitutes the Law Offices
of Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione

Fabbro & Zakaria ~ ¢y 90-670

Proof of Service of Stipulation and Order Re Plaintiff Ramon Jalipa

Substitution of Attorneys ~ re: Marcelino De Leon - Substitutes the Law Offices
of Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione
Pabbro & Zakaria ~ Cy 86~975

Substitution of Attorneys - re: Ester Garcia - substitutes the Law Offices of

Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione,
Fabbro & Zakaria ~ Cv 86-975

Substitution of Attorneys ~ re: Jerrold Garcia - Substitutes the Law Offices
of Melvin M. Belli in piace and stead of Belli, Belli, Brown, Monzione
Fabbro & Zakaria ~ Cy 86-975

Substitution of Attorneys ~- Re: George Gaddi - Substitutes the Law Offices
of Melvin M, Belli in place and stead of Belli, Belli, Brown, Morzione
Pabbro & Zakaria - Cy 86-975 .

Substitution of Attorneys - re: Ramon S. veluz - substitutes the Law Offices of
Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione,

Pabbro & Zakaria - Cv 86-975

Notice of Commencement of Probate Proceedings in a Philippine Court - on behalf
of Non-Party, Republic of the Philippines

Substitution of Attorneys - Re: Emmanuel Umali - Substitutes the Law Offices
of Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione

Pabbro & Zakaria - Cv 86-0975
Substitution of Attorneys - Re: Renato Torres ~ Substitutes the Law Offices of

Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbre
& @akaria ~ Civ 86-1449

Substitution of Attorneys - Re: Eugenia Torres - Substitutes the Law Offices of
Melvin M. Belli in place and stead of Belli, Belli, Brown, Monzione, Fabbro

Zakaria - Cy 86-1449

; Submission ~ Denial of Petition for a Writ of Certiorari; Exhibit A Proof of
Service ~ on behalf of Plaintiffs- Civ 8386-00207

GRDER: Letters Rogatery - on behalf of Plaintiff Agapita Tranjano - as to Civ.

86~207
List of Class Members Filing Proof of Claim Forms ~ Cv 86-396

See Page 36

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PLAINTIFF SEFENDANT
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IN.RE ESTATE OF FRERDINAND. MARCOS HUMAN RIGHTS LITIGATION
DATE | NR, PROCEEDINGS
1993
Sep 3 422 | ORDER Granting Plaintiffs’ Motion for Sanctions ~
On Behalf of Plaintiffs - all actions REAL
21 423 Letter of Rogatory
29 424 Class Plaintiffs' Motion To Set A Date For the Trial of Exemplary Damages -
referred te Judge Real
Class Plaintiffs' Statement of Clarification Re Motion to Set A Date Fer Trial

10 4

22

Oct 8 | 425

1994

Jan 3 429
21, 430
240} 431
27 432

Feb 7 | 433

ll 434

435

Of Exemplary Damages

Plaintiffs’ motion to Accept Late Filed Claim Forms ~ as to Civ. 86-390
referred to Judge Real
Final List of Class Members Filing Preof of Claim Forms ~- as to Civ. 86-390

/Plaintiffs' Supplemental Memo In Support of Motion To Schedule A Damage Rearing

Completed request of the Letter rogatory

Plaintiffs' Memorandum In Opposition to Defendant's Motion to Continue Trial

Date
Motion of Defendant, Estate of Ferdinand E. Marcos,

Date and Supporting Memorandum

for Continuance of Trial

Jury Trial regarding Punitive Damages will be set for 2/22/94 @ 9:00 a.m.

EQ:
Before Judge Manuel L. Real. The same jurors from the jury trial in 1992
have been summoned to appear on the above-named date MANUEL L REAL
cc: All counsel

ORDER - Motion to continue the trial date for the determination of punitive

MANUEL L. REAL

damages is hereby DENTED.

Sison/Piopongeco Plaintiffs Proposed Jury Instruction Regarding Separate Exemplary
Damage Judgment ~ 48 to Civil Nos. 86-225 & 87-138

Sison/Piopongco Plaintiffs Memorandum of Points and Authorities in support of
Proposed Jury Instruction Regarding Separate Exemplary Damage Judgment

as to Civil Nos. 86-225 & &7~138 .
Statment of Fact of Death - on behalf of Plaintiffs - as to Florentina Sison

as to Civil No. 86-225

Class Plaintiffs' First Request for Jury Instruction ~- as to all cases

Clemente/Ortegas Plaintiffs' Proposed Jury Instruction Regarding Separate

Damage Judgment - as to Civil Nos 86+1449 & 86-0975
lst day Jury Trial on exemplary damages ~- oral m/amicus curiae DENIED.

“~~ 10 jurors from the 9/9/92 liability trial present. Opening statements.
Cesar Parlade CST. Qualified as expert witness. Exhibits 130-138, 138A,
125 admitted. Plaintiffs rest. Defendants rest. Closing statements.
Defendants' oral m/judgment as a matter of law DENIED. Jury instructed.
Bailiff sworn. 3:10 p.m. jury retired to deliberate.

EP:

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Filed 01/01/03" Page 42 of 50 PagelD.350

CIVIL DOCKET CONTINUATION SHEET.
PLAINTIFE DEFENDANT : |
| DOCKET No. _MDL&40
i | 7
IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION i PAGE 32 0F PAGES
DATE NR. | PROCEEDINGS
2994 :
Feb 22 | Continued From Previous Page:
(Exhibits 130-183, 1384, 125 and admitted exhibits from liability trial gi
Co jurors). “Note from the Jury" filed. Further jury deliberation continued
to 2/23/94 @ 9:00 a.m.
(Hedy Coleman) REAL
| 440 ! Closing Charges - Duties of Jury to Find Facts and Follow Law
441 Note From the Jury
| 442 | Verdict Porm (Exemplary Damages) - On Behalf of Sison/Piopongco Plaintiffs
443 Statement of Fact of Death ~ as to Amelia Sison - Civ. 86-225
444 Objection of Defendant to Proposed Jury Instructions of all Plaintiffs
i All Actions
23 445 | EP: Further Jury Deliberation ~ Jury question filed. 1:35 p.m. jury returned
! with verdict in faver of Plaintiffs in the amount of $1,200,000,000.00.
| ; Jury admonished not to speak about this trial as they are to return to hear
i compensatory damages. As to compensatory damages ~ Plaintiffs to file
: Proposal by 3/10/94, Defendants to file response by 3/20/94. Exhibits
: returned to Sherry Broder's office
: (Hedy Coleman) REAT,.
, 446 , Jury Verdict - in favor of Plaintiffs on exemplary damages in the sum of
' i $1,200,000,000.00.
| 447 | Note From the Jury
: i
i !
ar i /448 iNotice of Change of Address - Law Office of Melvin mM. Belli
30 Hotaling Place
j San Francisco, CA 94111
i Phone: (415) 981-1g49 s to Civ 86-1449 5 36-
El | 449 | Class Plainctiffs' Memorandum re Claims eri Pea cRa? Affidavit of James Dannemnil
21 | 450 | Sison/Piopongeo Plaintiffs Memorandum re Claims Verification and Scheduling
| of Compensatory Damage Phase of the Trial - Civ. 86-225
25 451 | Defendant's Response In Opposition To Class Plaintiffs‘ Memorandum Re Claims
Verification
i ! . aa :
May 10 1452 {Motion for Substitution of Parties; Memorandum of Points and Authorities in
: Support of Substitution Motion - referred to Judge Real (Civ 86-0225)
| .
1453 | Proposed Order - referred to Judge Real (Civ No. 986-0225)
| asa | Proof of service
23 455 (Completed request of the letter rogatory
| :
i 456 ORDER - Ramon C. Sison is hereby substituted as interim party for all claims
| of Florentina Sison and Amalia C. Sison - as to Civ 86-225 REAL
Jun 1 457| EO: A Status Conference will be set for Monday, June 27, 1994 at 10:00 a.m,
: before Judge Manuel Real. All Counsel must be Present for this Status
i ' Conference. No Counsel will be allowed to participate by Telephone
i Conference REAL
cc: All counsel
27 | 458 EP: Status Conference - Court will proceed by way of Masters. Motions by Class
Hearing will be on September 12,

Counsel should be filed by July 11, 1994,

| 1994 at 9:00 a.m. Court will appoint one master.
other masters, for a total of five masters to handle claims procedures on th
existing valud claims after hearing on September 12, 1994, as Tea, to

Master will recruit four

n

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er

Case 1:03-cv-11111-DKW-KJM Document1_ Filed 01/01/03":

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(Rev, 1/78}
CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF DEF ENCANT

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

, OOCKET No.MDLE40

PAGE _385¢

PAGES
DATE NR, | PROCEEDINGS
1994 : :
|
Jun 27 | Contd from previous page: - Minutes
to commence on December 12, 1994 at 9:00 a.m. before the Honorable Manuel
lL. Real. Class Claim Plaintiffs and the defendants shall depesit with the
| Clerk of Court $25,000 which will he supplemented as needed 50% from each of
: the class plaintiffs and the defendants. Mr. Swift to prepare order,
(ESR-MM) MANUEL L. REAL
Jul 7 Transcript of Proceedings - Orig - 6/27/94 ~ YVars
8 459 Plaintiffs' Motion to R&ject Facially invalid Claims
Jul 19 [460 ; Pretrial Order No. 8: Case Management - M/Reject Facially Invalid Claims;
M/Accept Late Filed Claims; M/Modify the Preliminary injunction by joining
by joining the Republic of the Phil‘ppines;: m/ conduct further discovery set
' for 9/12/94; trial of compensatory damages set for 11/11/94 before the
i jurers currently impanelled MANUET, L. RAL
461 Class Counsel's Statement re Duplicate Claims
22 : 462 Revised Exhibit "A" To Plaintiffs' Motion To Reject Facially Invalid Claims
| 463 Notice of Motion; Motion to Further Modify The Prelimianry Injunction: Exhibits A
through H - 9/12/94 @ 10:00 a.m., Real
|
29 464 Answer to Motion to Reject Facially Invalid Claims - on behalf of Lillian
Quimpo Walsh
Aug 3 | ENTIRE CASE FILE RETURNED FROM 9TH CCA (12 Volumes ¢ Transcripts}
190 465 | JUDGMENT ~ Sth CCA - Judgment is hereby AFFIRMED GOODWIN, TANG, and NOONAN, iJR
: i (Filed and entered June 16, 1994)
12 | 466 | Memorandum of Defendant Regarding Payment of Fees and Expenses of Special Master
: on behalf of befendant
17 | 467} Second Revised Exhibit "A" to Plaintiffs' Motion to Reject Facially Invalid
: Claims - On Behalf cf Plaintiffs
| 468) Certificate of Service - On Behalf of Plaintiffs 4
18) 469/ EP: Status Conference Regarding (1) Suggestions of Special Master (2) Suggestions

of any statistician's or experts regarding adequate sample of claims -
Plaintiff's Oral M/Sanctions regarding the Defendants non compliance with
this court's case management order no. 8 will be set for 9/12/94 @ 9:00
a.m. before this court. Court's Motion Regarding the Determination of
Payment of Defendants' attorneys etc. and also the payment of money due
regarding Court's case management order no. 8 will be set for 9/12/94

@ 9:00 a.m. before this court. This court is ordering that Imelda Marcos,
Mr. Marcos Son will be called as witnesses for this motion and are ta

be present for this hearing. Also the Court is informing atty B. J. Rothbaum
& James P. Linn that they will also be called as witnesses for this hearing.
Regarding the suggestions of any statistician's or experts regarding adequate
sample of claims - Plaintiff's witness-expert James Dannemiller CST.
Court also handed out to all counsel present Resume's of suggestions of
person's for special master appointment

(ESR-MM) FONG

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

MDL 840

DEFENDANT

| DOCKET No.

PAGE 39 oF PAGES

DATE

PROCEEDINGS

1994
Aug 18

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. Sep 8

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' Certificate of Service - Civ.

“Affidavit of Service - served copy of Plaintiffs’ Motion to Purther Modify Prelimi

'Proef of Service

ORDER - James P. Linn, William A. Johnson, B. J. Rothbaum, Bert T. Kobayashi,
Jr., Lex R. Smith, Imelda Marcos and Ferdinand Marcos, Jr. appear on 9/12/94
@ 9:00 a.m. - ce: all counsel REAL

Plaintiffs’ Motion for Sanctions; Exhibits A, B&C _ - Civ. 86-390

ORDER - Plaintiffs' class counsel is to serve Imelda Marcos and Ferdinand Marcos,
Jr. with subpoenas that the presence of both persons on 9/12/94 is essential

for the administration of justice in this action - ce: all counsel
REAL

86-390

Injunction dated July 20, 1994

Transcript of Proceedings ~- Original = 8/18/94

Plaintiffs' Memorandum of Law In Support of Motion to Further Modify the
Preliminary Injunction; Exhibit "7"

Assertion of Sovereign Immunity and Further Conditional Opposition of The Republi
of the Philippines Re: Plaintiffs' Motion to Modify the Preliminary Injuncti
on behalf of Republic of the Philippines

Pitf's M/Sanctions regarding the defts Non-Compliance with this Court's
Case Management Order No. 8 & Court's Motion reqarding the Determination of
Payment of Deft's Atty's etc and also the Money due reqarding Court's Case
Management Order No. & presently set for 9/12/94 are hereby taken off,

The Parties have complied with this Court's Order No. & regarding depositing
money as to the special Master Fees REAL

i

ORDER Re Continued Hearing on Orders entered 8/18/94 and 8/19/94 - the 9/12/94
hrg contd to 9/19/94 @ 1:30 5.m. before Judge Reali - on behalf of
Plaintiffs - Civil No. 86-390 REAL

Clags Counsel's Submission of a Summary of Angsers received from Class Members
to the Motion to REject Facially Invalid Claims; Exhibit A; Certificate of
Service - on behalf of Plaintiffs - Civil No. 86+390

Pltf's M/Sanctions regarding Court's Pretrial ~ Case Management Order No, 8
& Order to Show Cause-Atty. Bert Kobayashi, CST, Atty Lex Smith, CST, Biil
Johnson & Atty Bernard Julian Rothbaum, CST. This Court orders all deft's
counsel to produce to this court and pltfs' counsel all financial records
regarding payment of Atty Fees hefore F. Marcos and after his death. This
matter along with the motion to appoint a special master is hereby contd

to 9/15/94 @ 9:00 a.m. before this court. Also lead counsel for the deft's
atty James P. Linn must be present for this hearing. Motion by Class Counsel
Facially invalid claims - Granted. Motion to Allow late file claims ~- Grante
Motion to further modify prelim. inj - Granted (Mr. Swift to prepare the
Order ) (ESR-MM) REAL

EP:

See page 40

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@tase 1:03-cv-11111-DKW-KJM Document1_ Filed 01/01/03" Page 45 of 50 PagelD.353

CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

DEFENOANT

DOCKET No, MDL 840

| [pace 4906 PAGES

See page 41

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at

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DATE NR. | PROCEEDINGS
1994
Sep 12 482 |HO: Chambers Conference - with Pltfs' & Deft's Attys present. The contd hrg.
regarding pltfs' M/Sanctions and the Motion to Appoint a Special Master Presentl
set for Thursday, September 15, 1994 is hereby contd to Monday, Sept. 19, 194
@ 1:30 p.m, before this court. Hearing will take place in the U.S. Courthouge
Bidg. in Los Angeles, CA. in Judge Real's Courtroon, Judge Real's
Courtroom Deputy Clerk in Les Angeles, CA - Mr. Bill Horrell was notified
of this hearing REAL
13 483: ORDER Granting Plaintiffs! Motion to Further Modify the Preliminary Injunction -
Court specifically indentifies th Republic of the Philippines ag a represent
agent, aider or abettor of the deft Estate of F.E. Marcos and subject to the
terms of the injunction ~- on behalf of Plaintiffs REAL
15 484  Cartificate of Service
16 485 ORDER RE Late Filed Claims - on behalf of plaintiffs - [all claim forms received
between 6/1/93 and 2/23/94 are deemed timely filed] REAL
486 ORDER RE Facially Invalid Claims; Exhibit A ~ on behalf of Plaintiffs - [claims
listed in Exhibit "A" are rejected; Class Counsel shall notify the claimants
of rejected claims of this Order in the manner prescribed in paragraph 2 of
Case Management Order No, 8] a REAL
20 487 | Certificate of Service
*19 488 EP: Further Status Conference ~ he Court states that, certain Settlement negotiati
having taken place in chambers, and there being prospects for possible
settlement, the Court Orders this matter continued for further settlement
conference on October 5, 1994 at 1:30 p.m. in this courtroom in the
U.S.D.C. Central District of California
(Robert Cipolloni ~ U.S.D.C. Central District of CA) REAL
23 Transcript of Proceedings ~ - September 12, 1994 ~ Orig ~ Vars
489 NOTICE OF APPEAL ~ on behalf of Republic of the Philippines - as to all actions
appeals the Order Granting Plaintiffs' Motion to Further Modify the
Preliminary Injunction, entered in this action on the l3th day of
September, 1994 - COA No. 94-16739
Oct 6 489a Certificate of Service
Oct & 490 Motion to Shoten Time - on behalf of Republic of the Philippines - referred to
Judge Real (Motion for a stay pending appeal)
491 Certificate in support of motion to shorten time - on behalf of Republic of the
Philippines
492 |(Proposed) Order granting motion to shorten time - on behalf of Repulbic of the
Philippines
493 Motion to Stay Pending Appeal - on behalf of Republic of the Philippines - referre
to Judge Real
494 (Proposed) Order Granting Motion to Stay Pending Appeal - on behalf of the
Republic of the Philippines
- ; Memorandum In Support of Motion to Stay Pending Appeal ~ on behalf of Republic of
495 the Philippines
7 Notice of Appeal & Docket Sheet sent to 9th CCA

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CIVIL, DOCKET CONTINUATION SHEET
DEFENDANT

PLAINTIFF :
| DOocKeT No. MDL 840

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION : 4l
| PAGE "7 OF

PAGES

DATE | NR. | PROCEEDINGS

1994

| Plaintiffs' Memorandum of Law In Opposition te Motion ta Stay the Modified

Oct 12 496
i Preliminary Injuction; Exhibit "A"

13 497 | Certificate of Service - as to Cv 86-0390
* 12. 498 | MINUTE ORDER - Further Settlement Conference - The Court discusses the potential
: settlement agreement with counsel. The Court ORDERS that counsel for the
Marcos Estate must have their clients response te the potential settlement
by October 12 , 1994. A telephonic conference call will be initiated by
counsel for the Marcos Estate with other counsel and the Court on
Octeber 12, 1994 at a time to be set. The Court APPOINTS SPECIAL MASTERS
as follows: Managing Master, Saul Schreiber; Lead Masters, Prof. Leon
Priedman, Victoria Brieant, Frederick Lacey, Robert Fitzgerald,Kenneth Dang
and John Carroll; Alternate Masters, Mal Misuraca, Nancy Ledy~Gurren, Drew
Berry, Debra Raskin, and Gina Rethchild. The Masters are to be compensated
by $1000.00 per day; business class flight to the Philippines; a per diem
of $75.00 per day; and ledging. Hearings are to start in the Philippines
by October 15, 1994, and are to he completed by November 30, 1994. The
Proposed “Consent to Settlement" is marked as Court Exhibit “A"
(Rebert Cipollioni - Court Reporter} REAL

i8 499 Reference Order - on behalf of Plaintiff

- §00 ORDER GRANTING Motion to Shorten Time - The Republic of the Philippines‘ Motion
to Shorten Time is noted for October 17, 1994 REAL

> 501 EQ: Jury Selection/Jury Trial to Fellow presently set for 12/12/94 is hereby
continued to 1/9/95 @ 9:00 a.m. All counsel was informed of this contd trial
date by Judge Real's Staff REAL

20 502 | Special Master Order No. 2 - on behalf of Plaintiff

503 | Re: Transmitted information that service of document in connection with MDL 840
was made at the office of Congressman Ferdinand Marcos, Jr.
24 3504 | Special Master ORDER No. 1 -
On Behalf of Plaintiffs
505 | EP: Substitution of the original order of the appt of the spec. master. Ist
~~ two weeks of review of the Plaintiff's cases will be done by Mr. Dang
and Mr. Carral. 2nd two weeks Mr. Schroer and Mr. Carrall. 3rd two weeks
Mr. Brieat and Mr. Misieraca. The court now approves the special master
order number one and special master order two. The proposed order of
principals for the class claim hearing in the Philippines. No objections
to this proposed order. The court had some additions to this proposed
order, entered on the record. Trial is now set for 1/9/95 @ 9:00 a.m.
in Honolulu
(ESR-Carmela Januzzi) REAL
Transcript of Proceedings - Original - 10/20/94 - Carmella Januzzi
25 506 Memorandum of Points and Authorities of Sison/PLlopongco Plaintiffs Regarding
Settlement

See page 42

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CIVIL DOCKET CONTINUATION SHEET

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IN Rm STATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

DEFENDANT :
; DOCKET NG. MDL 840

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WITNESS LIST of Sison/Pioponges Plaintiffs

PROCEEDINGS
507 £0: A Status Conference and the Motion to Stay the Modified Preliminary Injunction
i will be set for 12/09/94 at 10:00 a.m. Before Judge Manuel L. Real at the
U.S. Courthouse Bldg. in Honolulu, Hawaii. REAL
(ccrall counsel of record)
508 Special Master ORDER No. 5 - on behalf of plaintiffs
509 |Special Master ORDER No. 6 = on behalf of piaintiffs
510 Transmittal of Documents From The Consulate General of the Philippines
511 |Special Master ORDER No. 4 - by Supervising Special Master
512 |Response Of Defendant To Special Master Order No. 6 ~ on behalf of Defendant Estate
: of Ferdinand E. Marcos
513 Special Master ORDER No. 3: Principles Re Class Claim Hearings In The Philippines
514 Special Master Recommendation - (Re: Kennth Dang's request for fees; Kenneth Dang
: Ordered Reimbursed for a total of $8,598.79] REAL
si5 Plaintiffs' Mewmorandum Re Legal Priciples Applicable To Findings Of The Special
| Master; Exhibits "A" to "F*
516 EP: Status Conference and A Motion to Stay the Modified Preliminary Injunction -
DENIED. Final Pretrial Conference ~ 1/06/95 at 1:30 p.m. Before Judge Manuel
i. Real in Los Angeles, CA. Court discussed with counsel the preparation of
Documents, etc. for Trial to commence on 1/09/95 before this Court. Court
requested of Marcos Attorney ~ Mr. Linn a Declaration from him to be filed
by 12/30/94 + regarding what happened in the Philippines Probate Court - and
How the Philippines Government had knowledge of the Special Masters being in
the Philippines, Plaintiffs’ Counsel are to disclose to defendants any experd
to be called at Trial by 12/23/94. Witness Lists, Exhibit Lists, Verdict Forn
etc. to be filed by 12/30/94 with a copy to be forwarded to Judge Real in Los
Angeles, CA, Narrative Form for Witnesses to be used by Counsel to be produced
by 1/06/95. Jury Trial to Commence on 1/06/95 following Judge Real's Jury
Selection in the Higgins vs. Meyer Case. {TC} REAL
517 |Declaration of James P. Linn - on behalf of defendant Estate of Ferdinand E. Mared
518 (Memorandum Of Linn & Neville, P.C. Regarding Status Of Probate Of The Will Of
Perdinand E. Marcos - on behalf of Defendant Estate of Ferdinand E. Marcos
' 519 Plaintiffs' Supplemental Memorandum Re Legal Principles Applicable Te Pinding of
i The Special Master
520 Plaintiffs' Pretrial Memorandum Re Trial of Compensatory Damages
521 | ORDER Denying Republic of The Philippines' Motion to Stay The Order of 9/13/94
Pending Appeal - on behalf of plaintiffs REAL
| 522 Notice of Name Change - on behalf of Defendants Ferdinand And Imelda Marcos -
[The firm of Linn & Helms has been changed to Linn & Neville, P.C.]
/ 823 Special Master Recommendation ~ [Re: John Carroll's request for fees: Ordered that
he be reimbursed the total of $11,144.51 for expenses and fees] REAL
524 Motion In Limine of Defendant Re: Testimony Regarding Compensatory Damages - on
behalf of defendant Estate of Ferdinand f. Marcos - set for 9:00 1/9/95 heford
Judge Manuel L. Real
525 (Defendants’ Memorandum In Opposition To Plaintiffs’ Pretrial Memorandum Re: Trial
of Compensatory Damages - on behalf of defendant Estate of Ferdinand &. Marcog
526 .Plaintiffs' Submission of Narrative Statements of Expert Witness; Exhibits J and
Kr Certificate of Service
527 ‘Defendants Requested Jury Instructions On Compensatory Damages ~ on behalf of
Estate of Ferdinand E. Marcos
528

See Page 43

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CIVIL, DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE ESTATE OF FERDINAND MARCOS RUMAN RIGHTS LITIGATION :

DEFENDANT
, DocKET No. MDL 840

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PAGE 43 oF PAGES
DATE NR. PROCEEDINGS
igg4
Dec 30 529 | F.R.C.P 44,1 Notice by Sison/Piopongeo Plaintiffs
330 | WITNESS LIST by Ortigas/Clemente (Certain Direct Action Plaintiffs)
531 | PROPOSED JURY INSTRUCTIONS by Sison/Piopongco Plaintiffs
532 | Narrative Statement of James M. Jaranson, M.D., M.A., M.P.H. - on behalf of
Sison/Piopengeo Plaintiffs
533 | Plaintiffs' Supplemental Pretrial Memorandum Re Trial of Compensatory Damages
334 | Plaintiffs' Proposed Jury Instructions And Verdict Form
335 | Notice of Motion; Plaintiffs‘ Motion To Amend The Pleadings And For Entry of A
1995 Permanent Injunction; Certificate of Service ~ 1/9/95 at 9:00, Real
Jan 3 536 Special Master And Court Appointed Expert's Recommendations by Sel Schreiber
4 537 Special Master And COurt Appointed Expert's Addendum by Sol Schreiber
5 338 | Certificate of Service
539 | Certificate of Service
540 | Certificate of Service
2° 541 | TRIAL BRIEF Of Direct Action Plaintiffs
7 542 | Assertion Of Severeign Immunity and Further Conditional Opposition Of The Republi
of The Phillipines Re: Plaintiffs' Motion To Amend The Pleadings And For A
Permanent Injunction -~ on behalf of the Republic of the Philippines
543 | Certificate of Service
9 544 EP; JURY TRIAL - All 10 Jurors present. Opening Statements by Class Pltfs' &
Defts'. Class Pltfs' Witnesses - James Dannenmiller - cst & Sol Schreiber cst
Pltfs' Exhibits ~ 501, 502 6 505 thru 640 ADMITTED. Further Jury Trial
Continued to 1/10/95 at 9:00 a.mm before this Court.
{Ct Reptr: Lisa Groulx-Thompson - Morning/ESR-lg ~ Afternoon) REAL
#6 545, EP: Pinal Pre-Trial Conference [held in Central District of California] -
The Court takes up various pre-trial matters with counsel, and rules
thereon. The trial will commence in the United States District Court for
the District of Hawaii on January 9, 1995 at 10:06 a.m.
{Crt Rptr: Robert Cipolloni}*" REAL
10 546) EP: Further Jury trial (2nd Day) ~ Class Pltfs' Witnesses ~ Sol Schreiber ~
Resumed witness stand. Depositions of Estrellita Alcantara, Alim Alipolo,
Tumenday Mantikoya, Lorna Cabrera, Maximiano Sumabai, Jr., Corona Bellesa,
Dr. Helen Canay, Mrs. Jorgia L. Bucag, Adta Omar & Ulama Bansil -‘read
in to the record & Professor Manuel Montes - CST. Class Pltfs' Exhibits -
504 ~ Admitted. Class Pitfa' RESTED. No witnesses for the Defendant.
Deft. RESTED. Closing Statements on behalf of all parties. Court
instructed the Jurors. Jurors started to deliberate on 61-10-95 @ 5:25 p.m.
Further Jury Deliberations cont'd to 01-11-95 @ 9:30 a.m.
(Lisa Groulx-Thompson) REAL
ll 547| Notice of Metion: Plaintiffs' Motion for Contempt Against Imelda Marcos and
Ferdinand R. Marcos - All cases - referred to Real
548| EP: Further Jury Deliberation (2nd Day} - Conference regarding the Verdict to
be amended and the Amended Verdict was given to the Jurors. Notes from
the Jurors was addressed by the Court. Further Jury Deliberation cont'd
to 01-12-95 @ 9:30 a.m.
{SP} REAL
549; Note from the Jury
550} Note from the Jury
- See page 44 -

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

| DOCKET No. MDL 840
IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

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DATE NRigs | PROCEEDINGS

1995

Jan 12; 551 EP: Further Jury Deliberation (3rd Day) - Jurors all present. Jury Deliberation
cont'd to 01-13-95 @ 9:30 a.m.
{No record) REAL
552 | Note from the Jury
353 > Revised Jury Instructions in Sison/Piopongeo and Ortigas/Clemente Cases
13 554 | Addendum to Ex. "D" to Plaintiffs! Motion for Contempt Against Imelda Marcos

. and Ferdinand R. Marcos ~ All cases
555 | EP: Purther Jury Deliberation - Jury returned at 9:30 a.m., however, did not
deliberate due to the iliness of Theodore Kinimaka. Jury verdict sealed
by foreperson, Theodore Kinimaka and presented to the Court. Court will
retain sealed verdict until Tuesday, January 17, 1995. Further jury
deliberation continued to Tuesday, January 17, 1995 at 9:39 a.m.
(ESR-LG) REAL
17 556 | Plaintiffs' Memorandum in Support of Motion for Contempt Against Imelda Marcos
and Ferdinand R. Marcos ~ All cases
537 Response of Imelda Marcos in Opposition to Plaintiffs' Motion for Contempt ;
Exhibit "A* and "B"; Certificate of Service - on behalf of Deft. - All
cases
558 Defendants? Résponse<in“ Opposition to7Plaintitf£s! Motton-to-amend“ the:Pleadings
and for Entry of a Permanent Injunction; Certificate of Service « on
behalf of Deft. - All cases
559 EP: Further Jury Deliberation (4th Day) ~ Jurors present. Continued cdury
Deliberations cont'd to 01-18-95 @ 9:30 a.m.
(Ne record) REAL
18 S60 , EP: Further Jury Deliberation (5th Day) - Jurors present. Jurors have reached
a verdict @ 1:50 p.m. The verdict was showed to all counsel and filed in
open court. Copies of the verdict were served on all counsel in this
matter. The verdict was for the Class Action Pltf as to Compensatory
Damages. Court requested of Class Action Pltfs' SO prepare the Judgment.
Further Jury Trial as to Compensatory Damages - as to the Named Pltfs' is
hereby continued to 01-19-95 @ 9:00 acm. before this Court.
(Lisa Groulx-Thompson } REAL.
561 Note from the Jury

~ See page 45 -

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CIVIL DOCKET CONTINUATION SHEET

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PLAINTIFF

DEFENDANT

i

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

oOcKET No, MDL 840

PAGE 45 oF PAGES
DATE NR, PROCEEDINGS
1995
Jan 18 562 | Verdict - Class Action - Cv Nos. 86~0390-R ¢ 86~0333-R

Torture Subclass:

Vitug, Dante B.
Perlas, Estanislao P.
Bognot, Servillano G.
Vaga, Angelo

Palma, Ariel Revilla
Carino, Bartolome
Valdez, Fortunato
Baay, Edmundo
Gudayan, Arte

Butac, Roy

Payacag, Candido B., Sr.
Pineda, Bernardo
Lamangan, Joel C.
Sumabat, Maximiano, Jr.
Gardon, Antonio 5.
Ubod, Policarpio

De Ramos, Mariano B.
Tayag, Jean C.
Diamante, Crisostomo D.
Anober, Nemesio, Sr.
Flores, Jorge Estioca
Cerenado, Fidel BD.
Rafales, Porferio 0.
Ador, Julio

Calizo, Josue S.
Miraflor, Antonio
Gipalaga, Iniego
Delmonte, Gemma B.
Cordero, Leopoldo
Paredes, Efraim.
Depalco, Joey

Carlos, Winnie
Margate, Balbino c.
Cordero, Roberto
Mercader, Jerry A.
Banares, Ely Ll.
Segui, Josepite Cc.
Bitancor, Romeo R.
Regic, Bernardo R.
Edralin~Tiglao, Raquel
Roque, Picline
Samba‘jjon, Domingo
Dolosa, Ramon

Baez, Marcelino
Pution, Roberto
Nacario, Melchor F.
Fajardo, Wilfredo F.

Pain *& Suffering

$75 ,000.06
$30,000.00
$35,000.00
$30,000.00
$50,000.00
$50,000.06
$36,000.00
$20,900.00
$30,900.00
$30,900.00
$50,900.00
$100,000.00
$100,000.00
$75,000.00
$30,000.06

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$20,006.00
$100,000.00
$20,000.00
$30,005.00
$75,000.06
550,000.00
$50,000.00
$50,000.00
$50,000.00
350,000.00
375,000.00
$20,000.00
$50,000.00
350,000.06
$30,000.00
$10,000.00
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$65,000.00
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$30,000.00
$50,000.00

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